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  18    Attorneys for FASHION NOVA, INC.
  19    [Additional counsel listed on signature page]
  20                                 UNITED STATES DISTRICT COURT
  21                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  22
        GIANNI VERSACE S.R.L.,                          Case No: 2:19-cv-10074-PA-RAO
  23
                          Plaintiff and Counter-        AMENDED JOINT TRIAL EXHIBIT
  24    Defendant,                                      LIST
  25               v.                                   Judge:      Hon Percy Anderson
                                                        Date:       October 16, 2020
  26    FASHION NOVA, INC.                              Time:       1:30 p.m.
                                                        Crtrm.:     9A
  27                      Defendant and Counter-
        Claimant.                                       Action Filed:    November 25, 2019
  28                                                    Trial Date:      October 27, 2020

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   1                 Versace v. Fashion Nova, Case No.: 2:19-cv-10074-PA-RAO
   2                                 Joint Trial Exhibit Numbers
   3      Exhibit
           No.               Exhibit Description               Date Identified   Date Admitted
   4
                                   DEPOSITION EXHIBITS (2-89)
   5
              2.    5/18/2020
   6

   7
                    Plaintiff's Responses and Objections to
                    Defendant's First Set of Interrogatories
   8
              3.    7/17/2020
   9

  10                Plaintiff's Amended Responses and
                    Objections to Defendant's First Set of
  11                Interrogatories
  12
              6.    Versace Black, White and Gold
  13                Variation of 705 (VERS0001288)*
  14          9.    FN Customer Inquiry
  15                #20102455 - Dress Request -
                    2/14/2020
  16                (FN_006323)
  17
             10.    5/7/2020 Defendant’s Written
  18                Responses and Objections to Plaintiff’s
  19
                    First Set of Interrogatories & Tabs A,
                    B, & C
  20
             11.    Schoenfeld Exhibit 5 - Non- Public
  21                Cease and Desist Letters and Disputes
  22
             14.    Henke Exhibit 2 - Capri Holdings Ltd
  23                Form 10-K 3/28/2020
  24
             17.    7/1/2020 Cease-and-Desist Letter from
  25                D. Johnson to J. Ferdinand, & Exhibit
                    A - Additional Infringing Products
  26
                    7/1/20
  27                (VERS0008143 – VERS0008177)
  28
                                                                     Case No. 2:19-cv-10074-PA-RAO
                                                     1                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description             Date Identified   Date Admitted
   2
            18.     6/26/2020 Cease-and-Desist Letter
   3                from D. Johnson to J. Ferdinand,
   4
                    Exhibit A – Additional Infringing
                    Products, & Exhibit B – Fashion Nova
   5                Infringing Products Screenshots
   6
                    (VERS0008082 – VERS0008142)

   7         19.    Duran Exhibit 1 - Notice of Deposition
                    of Fashion Nova, Inc. Pursuant to
   8
                    Federal Rule of Civil Procedure
   9                30(b)(6)
  10         21.    Duran Exhibit 3 - 2/26/2019 Email
  11                from PreProduction.Auditions to J.
                    Jung et al re: New in Stock 02/26
  12                (Fashion Queen Mania) (FN_003830)
  13
             22.    Duran Exhibit 4 - Images of Fendi
  14                Swimsuit and Style J10521
                    (FN_003839)
  15

  16         23.    Duran Exhibit 5 - FN Vendor Purchase
                    Orders (FN_003041 - FN_003148)
  17

  18
             24.    12/26/2019 Email from R. Fox to J.
                    Jung re: Care Label Update - Flying
  19                Tomato/Jealous Tomato with
  20
                    attachments
                    (FN_004396 - FN_004408)
  21
             25.    Duran Exhibit 7 - Exhibit B FN
  22
                    Website Screenshots of Wild At Heart
  23                Slit Dress – White/Black and Italian
                    Rivera Maxi Dress – Purple Multi
  24

  25         26.    Duran Exhibit 8 - FN Customer Inquiry
                    #7309336 - Hello, when will the
  26                versace dupe dress that JanetGuzman
  27                on IG is wearing, drop? - 6/16/2018
                    (FN_ 006333 - FN_006335)
  28
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                                                   2                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.              Exhibit Description                Date Identified   Date Admitted
   2
            28.     Duran Exhibit 10 - 8/23/2018 Email
   3                from U. Maldonado to A. Chang re:
   4
                    JP1548 (FN_003521)

   5         29.    8/29/2018 Email from A. Chang to U.
                    Maldonado re:
   6                JP1548
   7                (FN_003559 - FN_003560)
   8         30.    Duran Exhibit 12 - FN: Spend My Own
   9                Belted Jumpsuit – MultiColor (JP1548)
                    vs. J.Lo at MTV VMA (Aug. 21, 2018)
  10
             31.    FN Vendor Order Form No. 106822
  11
                    (FN_007947)
  12
             32.    Duran Exhibit 14 - Defendant’s
  13                Answer and Affirmative Defenses;
  14                Demand for Jury Trial
  15         33.    Tsai Exhibit 2 - 5/22/2018 Email from
  16
                    C. Gasgonia to A. Swindell et al re:
                    plans vs actual with attachment
  17                (FN_010276)
  18         34.    Tsai Exhibit 2 -5/22/2018 Email from
  19                C. Gasgonia to A. Swindell et al re:
                    plans vs actual with may 2018 sales
  20
                    plan excel
  21                (FN_010286)
  22         35.    Tsai Exhibit 3 - FN Sales by Style
  23                Excel

  24         36.    Tsai Exhibit 5 - FN Sales by Style
                    Excel
  25

  26         37.    Tsai Exhibit 6 - Verification of reading
                    Second Supplemental Responses to
  27                Plaintiff’s First Set of Interrogatories
  28
                                                                     Case No. 2:19-cv-10074-PA-RAO
                                                    3                  JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description                Date Identified   Date Admitted
   2
            38.     Tsai Exhibit 7 - 6/22/2019 Email from
   3                R. Fox to D. Pop et al re: AUR
   4
                    Assortment Plan with attachments
                    (FN_016582)
   5
             39.    Tsai Exhibit 8 - 9/30/2019 Email from
   6                V. Morales to C. Griffin et al re: Retail
   7                Dashboard - Week 4 of September with
                    attachment (FN_017247 - FN_017248)
   8

   9         40.    Tsai Exhibit 9 - 2/13/2020 Email from
                    C. Gasgonia to S. Duran et al re: Zero
  10                selling report with attachment
  11                (FN_017873)

  12         41.    Tsai Exhibit 10 - 4/17/2020 Email from
                    I. Tsai to G. Schoenfeld re: Daily Sales
  13
                    Report with attachment (FN_018117 -
  14                FN_018130)
  15         42.    8/16/2020 Defendant’s Written
  16                Responses and Objections to Plaintiff’s
                    First Set of Request for Admission
  17

  18
             45.    11/15/2018 “Why Cardi B (and every
                    other celebrity on Instagram) loves
  19                Fashion Nova,” Vox Article by Nadra
  20
                    Nittle

  21                (VERS0006117 - VERS0006124)
  22         46.    10/29/2018 “How Cardi B Makes
  23                Fashion Moves,” BoF Article by
                    Melissa Magsaysay (cited in the
  24                Goldaper Expert Report)
  25                (VERS0004627 - VERS0004630)

  26         47.    Lee Exhibit 7 - Men’s Barocco Long
                    Sleeve Instagram Posts 9/29/2018,
  27
                    6/4/2019, and 5/7
  28
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                                                     4                  JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description          Date Identified   Date Admitted
   2
            49.     Lee Exhibit 8 – FN Website Screenshot
   3                of Gold Leaf Long Sleeve Woven Top
   4
                    - Black/Yellow

   5         50.    Lee Exhibit 9 - Love Don’t Cost A
                    Thing 2 Piece Costume Set Fashion
   6                Nova Instagram Post 10/2/2019
   7
             51.    Lee Exhibit 10 - Love Don’t Cost a
   8                Thing 2 Piece Costume Set vs. J.Lo in
   9                Versace

  10         52.    Lee Exhibit 11 - It’s a Chain Reaction
                    Fashion Nova Instagram Posts
  11

  12         53.    Complaint with Exhibits (A - E)
  13         55.    FN Customer Inquiry
                    #17564089 - Love Don’t Cost a Thing-
  14
                    2 Piece Halloween Costume -
  15                9/20/2019 (FN_006325 - FN_006327)
  16         56.    Duran Exhibit 10 - 8/23/2018 Email
  17                from U. Maldonado to
                    A. Chang re: JP1548 (FN_003521)
  18

  19         57.    Schoenfeld Exhibit 10 - Spend My
                    Own Belted Jumpsuit Image
  20
             58.    Schoenfeld Exhibit 11 – Image of J.Lo
  21
                    MTV VMA’s outfit - 8/21/2018
  22
             59.    Schoenfeld Exhibit 12 – Spend My
  23                Own Belted Jumpsuit and J.Lo MTV
  24                VMAs outfit - 8/21/2018

  25         60.    FN Vendor Order Form No. 8983
                    (FN_006886)
  26

  27         62.    FN Vendor Order Form No. 202273
                    (FN_008573)
  28
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   1      Exhibit
           No.              Exhibit Description            Date Identified   Date Admitted
   2
            63.     Schoenfeld Exhibit 17 - FN Website
   3                Search Results for "FN30537"
   4         64.    Wind Dep Ex 5
   5
             71.    Wind Dep Ex 8
   6
             74.    Wind Dep Ex 9
   7

   8         75.    Wind Dep Ex 10

   9         76.    Wind Dep Ex 11
  10         77.    Wind Dep Ex 12
  11
             78.    Wind Dep Ex 13
  12
             79.    Wind Dep Ex 14
  13

  14         80.    Wind Dep Ex 15

  15         81.    7/10/2020
  16                Expert Report of Brian Buss*
  17
             82.    8/12/2020
  18
                    Supplemental and Rebuttal Report of
  19                Brian Buss*
  20
             83.    Buss Exhibit 4 – “The Comprehensive
  21                Guide to Economic Damages,” Volume
                    One, by Nancy Fannon and Jonathan
  22
                    Dunitz
  23
             85.    FN_003026-3027
  24

  25
                    Fashion Nova Web Pages/Screenshots -
                    Love Don't Cost A Thing 2 Piece
  26                Costume Set - Green/combo
  27
             86.    Buss Exhibit 6 – 2006 AICPA Practice
  28                Aid by Daniel Jackson: “Calculating
                                                                 Case No. 2:19-cv-10074-PA-RAO
                                                   6               JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.                Exhibit Description             Date Identified   Date Admitted
   2
                    intellectual property infringement
   3                damages; AICPA practice aid series
   4
                    06- 1”

   5          87.   Buss Exhibit 8 – Google Trends
                    Comparison of Fashion Nova and
   6                Versace
   7
              89.   8/17/2020 Defendant’s Third
   8                Supplemental Responses to Plaintiff’s
   9                First Set of Interrogatories

  10                       VERSACE’S EXHIBIT LIST (Exhibits 90-579)
  11    90.         Versace Certificate of Registration VA
  12                2-175-854, Jungle Print
                    (VERS0000285 - VERS0000287)
  13
        91.         Versace Certificate of Registration VA
  14
                    2-176-201, Barocco - 57
  15                (VERS0000288 - VERS0000290)
  16    92.         Versace Certificate of Registration VA
  17                2-173-518, Barocco
                    (VERS0000305 - VERS0000307)*
  18

  19    93.         Versace Certificate of Registration VA
                    2-176-997, Wild Baroque - 238
  20                (VERS0000034 - VERS0000035)*
  21
        94.         Versace Certificate of Registration VA
  22                2-173-519, Pop Hearts
                    (VERS0000308 - VERS0000310)
  23

  24    95.         Versace Certificate of Registration VA
                    2-184-154, Love Versace (rainbow)
  25                (VERS0001132 - VERS0001133)*
  26
        96.         Versace Certificate of Registration, VA
  27                2-176-205, Gold Baroque - 523
  28
                                                                    Case No. 2:19-cv-10074-PA-RAO
                                                   7                  JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.              Exhibit Description               Date Identified   Date Admitted
   2
                    (Complaint, Exhibit E at 11-12)
   3
        97.         Versace Certificate of Registration, VA
   4                2-176-199, 622 (Complaint, Exhibit E
   5                at 9-10)
   6    98.         Versace Certificate of Registration, VA
   7                2-176-545, 705 (Complaint, Exhibit E
                    at 13-14)
   8
        99.         Versace Jungle Print Image
   9
                    (VERS0000304)
  10
        100.        Versace Jungle Print Image
  11                (VERS0004584)
  12
        101.        Versace Barocco - 57 Image
  13                (VERS0001286)
  14    102.        Versace Barocco - 57 Image
  15                (VERS0004586)
  16    103.        Versace Barocco Image
  17                (VERS0001884)*

  18    104.        Versace Barocco Image
                    (VERS0004587)*
  19

  20    105.        Versace Wild Baroque - 238 Image
                    (VERS0001887)*
  21
        106.        Versace Wild Baroque – 238 Image
  22
                    (VERS0001131)*
  23
        107.        Versace Pop Hearts Image
  24                (VERS0000770)
  25
        108.        Versace Pop Hearts Image
  26                (VERS0004585)
  27
        109.        Love Versace (rainbow) Image
  28
                                                                    Case No. 2:19-cv-10074-PA-RAO
                                                      8               JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.             Exhibit Description                Date Identified   Date Admitted
   2
                    (VERS0000729)*
   3
        110.        Love Versace (rainbow) Image
   4                (VERS0004595)*
   5
        111.        Versace Gold Baroque - 523 Image
   6                (VERS0001287)
   7
        112.        Versace Gold Baroque - 523 Image
   8                (VERS0004596)
   9    113.        Versace 622 Image
  10                (VERS0001885)

  11    114.        Versace 622 Image
                    (VERS0003693)
  12

  13    115.        Versace 705 Image
                    (VERS0001886)
  14

  15
        116.        Versace 705 Image

  16                (VERS0004576)
  17    117.        Versace 705 Image (High Resolution)
  18                (VERS0003689)

  19    118.        9/24/2018 Assignment Agreement
                    Between Allegra Donata Versace Beck
  20
                    and Gianni Versace S.p.A. (Signed by
  21                Santo Versace)
                    (VERS0001888 - VERS0001892)
  22

  23    119.        9/24/2018 Assignment Agreement
                    Between Allegra Donata Versace Beck
  24                and Gianni Versace S.p.A. (Signed by
  25                Allegra Donata Versace Beck)
                    (VERS0001893 - VERS0001897)
  26

  27
        120.        10/30/2019 Versace Registration
                    Application (Jungle Print) by Francesca
  28                Bosio (VERS0004597 –
                                                                    Case No. 2:19-cv-10074-PA-RAO
                                                   9                  JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.            Exhibit Description                Date Identified   Date Admitted
   2
                    VERS0004599)
   3
        121.        10/30/2019 Email from Copyright
   4                Office to Dentons Trademarks US re:
   5                Acknowledgement of Uploaded
                    Deposit (Jungle Print) (VERS0004560)
   6

   7    122.        10/30/2019 Email from Copyright
                    Office to Dentons Trademarks US re:
   8                Confirmation of Receipt (Jungle Print)
   9                (VERS0004559)

  10    123.        10/31/2019 Versace Registration
                    Application (Barocco - 57) by
  11
                    Francesca Bosio (VERS0004580 –
  12                VERS0004582)
  13    124.        10/31/2019 Email from Copyright
  14                Office to Dentons Trademarks US re:
                    Acknowledgement of Uploaded
  15                Deposit (Barocco - 57)
  16                (VERS0004566)
  17    125.        10/31/2019 Email from Copyright
  18
                    Office to Dentons Trademarks US re:
                    Confirmation of Receipt (Barocco - 57)
  19                (VERS0004564)
  20
        126.        10/3/2019 Versace Registration
  21                Application (Barocco) by Francesca
                    Bosio (VERS0004600 -
  22
                    VERS0004602)
  23
        127.        10/3/2019 Email from Copyright
  24                Office to Dentons Trademarks US re:
  25                Acknowledgement of Uploaded
                    Deposit (Barocco) (VERS0004556)
  26
        128.        10/3/2019 Email from Copyright
  27
                    Office to Dentons Trademarks US re:
  28                Confirmation of Receipt (Barocco)
                                                                   Case No. 2:19-cv-10074-PA-RAO
                                                   10                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
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   2
                    (VERS0004555)
   3
        129.        11/4/2019 Versace Registration
   4                Application (Wild Baroque - 238) by
   5                Francesca Bosio (VERS0004577 –
                    VERS0004579)*
   6

   7    130.        11/4/2019 Email from Copyright
                    Office to Dentons Trademarks US re:
   8                Acknowledgement of Uploaded
   9                Deposit (Wild Baroque - 238)
                    (VERS0004568)*
  10
        131.        11/4/2019 Email from Copyright
  11
                    Office to Dentons Trademarks US re:
  12                Confirmation of Receipt (Wild
                    Baroque - 238) (VERS0004567)*
  13

  14    132.        10/3/2019 Versace Registration
                    Application (Pop Hearts) by Francesca
  15                Bosio (VERS0004606 –
  16                VERS0004608)
  17    133.        10/3/2019 Email from Copyright
  18
                    Office to Dentons Trademarks US re:
                    Acknowledgement of Uploaded
  19                Deposit (Pop Hearts) (VERS0004558)
  20
        134.        10/3/2019 Email from Copyright
  21                Office to Dentons Trademarks US re:
                    Confirmation of Receipt (Pop Hearts)
  22
                    (VERS0004557)
  23
        135.        12/18/2019 Versace Registration
  24                Application (Love Versace (rainbow))
  25                by Francesca Bosio (VERS0004588 –
                    VERS0004590)*
  26
        136.        12/18/2019 Email from Copyright
  27
                    Office to Dentons Trademarks US re:
  28                Acknowledgement of Uploaded
                                                                  Case No. 2:19-cv-10074-PA-RAO
                                                  11                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description            Date Identified   Date Admitted
   2
                    Deposit (Love Versace (rainbow))
   3                (VERS0004572)*
   4    137.        12/18/2019 Email from Copyright
   5                Office to Dentons Trademarks US re:
                    Confirmation of Receipt (Love Versace
   6                (rainbow)) (VERS0004571)*
   7
        138.        10/31/2019 Versace Registration
   8                Application (Gold Baroque - 523) by
   9                Francesca Bosio (VERS0004592 –
                    VERS0004594)
  10
        139.        10/31/2019 Email from Copyright
  11
                    Office to Dentons Trademarks US re:
  12                Acknowledgement of Uploaded
                    Deposit (Gold Baroque - 523)
  13
                    (VERS0004562)
  14
        140.        10/31/2019 Email from Copyright
  15                Office to Dentons Trademarks US re:
  16                Confirmation of Receipt (Gold
                    Baroque - 523) (VERS0004561)
  17

  18
        141.        10/31/2019 Versace Registration
                    Application (622) by Francesca Bosio
  19                (VERS0004603 – VERS0004605)
  20
        142.        10/31/2019 Email from Copyright
  21                Office to Dentons Trademarks US re:
                    Acknowledgement of Uploaded
  22
                    Deposit (622) (VERS0004565)
  23
        143.        10/31/2019 Email from Copyright
  24                Office to Dentons Trademarks US re:
  25                Confirmation of Receipt (622)
                    (VERS0004563)
  26
        144.        10/31/2019 Versace Registration
  27
                    Application (705) by Francesca Bosio
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    (VERS0004573 – VERS0004575)
   3
        145.        11/4/2019 Email from IPT Docket CHI
   4                to T. Yanagida re: Acknowledgement
   5                of Uploaded Deposit (705)
                    (VERS0004569)
   6

   7    146.        11/4/2019 Email from IPT Docket CHI
                    to T. Yanagida re: Confirmation of
   8                Receipt (705) (VERS0004570)
   9
        147.        10/30/2019 Agreement Between
  10                Versace and Ratti Concerning the
                    Jungle Dress Design
  11
                    (VERS0001881 - VERS0001883)
  12
        148.        Versace Trademark Registration No.
  13                1,875,093 (Medusa Head & Greca
  14                Design)
                    (VERS0000019 - VERS0000022)
  15

  16
        149.        Combined §§ 8 & 15 Declaration for
                    Versace Trademark Registration No.
  17                1,875,093 (Medusa Head & Greca
  18
                    Design)
                    (VERS0007107 - VERS0007115)
  19
        150.        Affidavit of Incontestability for
  20
                    Versace Trademark Registration No.
  21                1,875,093 (Medusa Head & Greca
                    Design)
  22
                    (VERS0007103 - VERS0007106)
  23
        151.        Notice of Acceptance of § 8 Affidavit
  24                and Acknowledgement of § 15
  25                affidavit for Versace Trademark
                    Registration No. 1,875,093 (Medusa
  26                Head & Greca Design)
  27                (VERS0007116 - VERS0007118)

  28
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                                                  13                JOINT TRIAL EXHIBIT LIST
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   1     Exhibit
           No.              Exhibit Description            Date Identified   Date Admitted
   2
        152.       Versace Service Mark Registration No.
   3               2,162,489 (Gianni Versace Word
   4
                   Mark)
                   (VERS0000025)
   5
        153.       Combined §§ 8 & 15 Affidavit for
   6               Versace Service Mark Registration No.
   7               2,162,489 (Gianni Versace Word
                   Mark)
   8
                   (VERS0007119 - VERS0007124)
   9
        154.       Notice of Acceptance of § 8 affidavit
  10               and Acknowledgement of § 15
  11               affidavit for Versace Service Mark
                   Registration No. 2,162,489 (Gianni
  12               Versace Word Mark)
  13               (VERS0007125 - VERS0007126)

  14    155.       Versace Trademark Registration No.
                   2,980,455 (Medusa Head Design)
  15
                   (VERS0000028 - VERS0000029)
  16
        156.       Combined §§ 8 & 15 Declaration for
  17               Versace Trademark Registration No.
  18               2,980,455 (Medusa Head Design)
                   (VERS0007127 - VERS0007151)
  19

  20
        157.       Notice of Acceptance and
                   Acknowledgement of §§ 8 & 15
  21               Declaration for Versace Trademark
  22
                   Registration No. 2,980,455 (Medusa
                   Head Design) (sent to Gene S. Winter)
  23               (VERS0007153)
  24
        158.       Notice of Acceptance and
  25               Acknowledgement of §§ 8 & 15
                   Declaration for Versace Trademark
  26
                   Registration No. 2,980,455 (Medusa
  27               Head Design) (sent to G. Franklin
                   Rothwell)
  28
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   1      Exhibit
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   2
                    (VERS0007152)
   3
        159.        Versace Trademark Registration No.
   4                3,194,501 (Greca Design)
   5                (VERS0000032 - VERS0000033)
   6    160.        Combined §§ 71 & 15 Declaration for
   7                Versace Trademark Registration No.
                    3,194,501 (Greca Design)
   8                (VERS0007154 - VERS0007174)
   9
        161.        Notice of Acceptance of § 71
  10                Declaration and Acknowledgement of
                    § 15 Declaration for Versace
  11
                    Trademark Registration No. 3,194,501
  12                (Greca Design)
                    (VERS0007175 - VERS0007176)
  13

  14    162.        Versace Trademark Registration No.
                    3,199,127 (Greca Circle Design)
  15                (VERS0000014 - VERS0000015)
  16
        163.        Combined §§ 71 & 15 Declaration for
  17                Versace Trademark Registration No.
  18
                    3,199,127 (Greca Circle Design)
                    (VERS0007177 - VERS0007197)
  19
        164.        Notice of Acceptance of § 71
  20
                    Declaration and Acknowledgement of
  21                § 15 Declaration for Versace
                    Trademark Registration No. 3,199,127
  22
                    (Greca Circle Design)
  23                (VERS0007198 - VERS0007199)
  24    165.        Versace Trademark Registration No.
  25                3,453,992 (Greca Element Design)
                    (VERS0000009 - VERS0000010)
  26
        166.        Combined §§ 71 & 15 Declaration for
  27
                    Versace Trademark Registration No.
  28                3,453,992 (Greca Element Design)
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                                                 15                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
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   2
                    (VERS0007200 - VERS0007218)
   3
        167.        Notice of Acceptance of § 71
   4                Declaration and Acknowledgement of
   5                § 15 Declaration for Versace
                    Trademark Registration No. 3,453,992
   6                (Greca Element Design)
   7                (VERS0007219 - VERS0007220)
   8    168.        Versace Trademark Registration No.
   9                4,398,385 (Versace Word Mark)
                    (VERS0000016 - VERS0000018)
  10
        169.        Combined §§ 71 & 15 Declaration for
  11
                    Versace Trademark Registration No.
  12                4,398,385 (Versace Word Mark)
  13                (VERS0007221 - VERS0007247)
  14
        170.        Notice of Acceptance of § 71
  15                Declaration and Acknowledgement of
                    § 15 Declaration for Versace
  16
                    Trademark Registration No. 4,398,385
  17                (Versace Word Mark)
  18                (VERS0007248 - VERS0007249)
  19
        171.        Versace Trademark Registration No.
  20                4,626,622 (Versace Word Mark)
  21
                    (VERS0000011 - VERS0000012)

  22    172.        Versace OHIM Certificate of
                    Registration No. 011566825 (EU
  23
                    Trademark)
  24                (VERS0000073 - VERS0000156)
  25    173.        6/7/2005 Notice of Acceptance of And
  26                Declaration And Renewal - Reg.
                    Number 1875093 (Medusa Head &
  27                Greca Design)
  28
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   1      Exhibit
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   2
                    (VERS0000023)
   3
        174.        7/10/2008 Notice of Acceptance and
   4                Renewal Registration No. 2162489
   5                (Gianni Versace Word Mark)
                    (VERS0000026 - VERS0000027)
   6

   7    175.        2/3/2015 Email from
                    TMOfficialNotices@USPTO.GOV to
   8                jeff@sladlaw.com re: Official USPTO
   9                Notice of Acceptance and Renewal
                    Sections 8 and 9: U.S. Trademark RN
  10                1875093: Misc. Design (Medusa Head
  11                & Greca Design)
                    (VERS0000024)
  12
        176.        Notice of Renewal of International
  13
                    Registration - Serial No. 79015820 -
  14                Registration No. 0863493
                    (VERS0000013)
  15

  16    177.        Notice of Renewal of International
                    Registration Serial No. 79016809 -
  17                Registration No. 0866162
  18                (VERS0000031)
  19    178.        8/12/2015 Notice of Acceptance and
  20
                    Renewal Registration No. 2980455
                    (Medusa Head Design)
  21                (VERS0000030)
  22
        179.        Notice of Renewal of International
  23                Registration - Serial No. 79037766 -
                    Registration No. 0922170
  24
                    (VERS0000008)
  25
        180.        “14 years of H&M designer
  26                collaborations: how high-street became
  27                fashion’s hottest ticket,” Stylight
                    Article by Kayla Kuefler (cited in the
  28
                                                                   Case No. 2:19-cv-10074-PA-RAO
                                                   17                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
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   2
                    Donohue Expert Report)
   3
                    (VERS0006250 - VERS0006270)*
   4

   5
        181.        10/20/2011 “Anatomy of a Trend:
                    Versace’s Baroque Print,” The FADER
   6                Article by Deidre Dyer (cited in the
   7
                    Donohue Expert Report)

   8                (VERS0006805 - VERS0006828)
   9    182.        Figures from the 7/10/2020 James
  10                Donohue Expert Report

  11    183.        6/4/2019 Capri Holdings Limited
                    Investor Day Presentation (cited in the
  12
                    Donohue Expert Report)
  13
                    (VERS0006472 - VERS0006602)
  14
        184.        6/4/2019 Capri Holdings Limited
  15
                    Investor Day Transcript (cited in the
  16                Donohue Expert Report)
  17                (VERS0006603 - VERS0006641)
  18
        185.        10/19/2016 “Every H&M Fashion
  19                Collaboration, Ranked,” Vogue Article
  20
                    by Steff Yotka (cited in the Donohue
                    Expert Report)
  21
                    (VERS0006293 - VERS0006312)*
  22

  23    186.        4/21/2020 “Fashion Nova Pays FTC
                    $9.3M for Illegal Gift Cards, Slow
  24                Delivery,” dot.LA Article by Rachel
  25                Uranga (cited in the Donohue Expert
                    Report)
  26
                    (VERS0006829 - VERS0006833)
  27

  28
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   1     Exhibit
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   2
        187.       Fashion Nova SimilarWeb Analytics
   3               (cited in the Donohue Expert Report)
   4               (VERS0007063 - VERS0007068)
   5
        188.       2011 H&M Hennes & Mauritz AB
   6               Full-Year Report (cited in the Donohue
   7
                   Expert Report)

   8               (VERS0006272 - VERS0006292)*
   9    189.       5/29/2020 “How Will Fashion’s
  10               Proposed Disruption Impact the
                   Copycat World of Fast Fashion?,” The
  11               Fashion Law Article by TFL (cited in
  12               the Donohue Expert Report)

  13               (VERS0006240 - VERS0006246)
  14    190.       8/23/2018 “Prospect Mining for
  15               International Shipping,” SimilarWeb
                   Insights Article by Daniel Sevitt (cited
  16               in the Donohue Expert Report)
  17
                   (VERS0006228 - VERS0006237)
  18
        191.       “Richard Saghian – BoF 500,” BoF
  19               Article (cited in the Donohue Expert
  20               Report)
  21               (VERS0006224 - VERS0006225)
  22    192.       7/24/2019 “Six Cool New Ways to Tie
  23               a Head Scarf This Summer,” Allure
                   Article by Jessica Chia (cited in the
  24               Goldaper Expert Report)
  25
                   (VERS0005392 - VERS0005397)
  26
        193.       11/5/2019 Defendant Fashion Nova,
  27
                   Inc.’s Answer and Counterclaims to
  28               Plaintiffs Adidas America, Inc. and
                                                                    Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
           No.              Exhibit Description              Date Identified   Date Admitted
   2
                    Adidas AG’s Second Amended
   3                Complaint (cited in the Goldaper
   4
                    Expert Report)

   5                (VERS0004609 - VERS0004626)
   6    194.        Images of Celebrities and Models in
   7
                    Versace from the Goldaper Report

   8                (VERS0006125; VERS0006153;
                    VERS0006157; VERS0006158;
   9
                    VERS0006179; VERS0006838;
  10                VERS0000696; VERS0000757;
                    VERS0006206; VERS0006205)
  11

  12    195.        1/23/2018 “‘Assassination of Gianni
                    Versace’ Premiere Draws 5.5 Million
  13                Viewers in Delayed Viewing,” Variety
  14                Article by Joe Otterson (cited in the
                    Goldaper Expert Report)
  15
                    (VERS0006049 - VERS0006059)
  16

  17    196.        7/19/2018 “Inside the Fashion Nova
                    Hype Machine,” BoF Article by
  18                Chantal Fernandez (cited in the
  19                Goldaper Expert Report)
                    (VERS0004631 - VERS0004633)
  20

  21
        197.        Capri Holdings Ltd Form 10-K
                    3/30/2019 (cited in the Goldaper
  22                Expert Report)
  23                (VERS0004644 - VERS0004794)
  24
        198.        Cardi B’s Instagram Page (cited in the
  25                Goldaper Expert Report)
  26
                    (VERS0004812 - VERS0004813)
  27
        199.        Charts from the Goldaper Report
  28
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   1      Exhibit
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   2
                    (VERS0006150 - VERS0006152;
   3                VERS0006159 - VERS0006162;
   4
                    VERS0006180 - VERS0006185;
                    VERS0006199 - VERS0006200;
   5                VERS0006207 - VERS0006223;
   6
                    VERS0006238 - VERS0006239)

   7    200.        12/16/2019 “Fashion Nova’s Secret:
                    Underpaid Workers in Los Angeles
   8
                    Factories,” The New York Times
   9                Article by Natalie Kitroeff (cited in the
                    Goldaper Expert Report)
  10

  11                (VERS0004634 - VERS0004643)

  12    201.        Fashion Nova’s Instagram Page (cited
                    in the Goldaper Expert Report)
  13

  14                (VERS0004807 - VERS0004809)

  15    202.        7/16/1997 “Gianni Versace, 50, the
                    Designer Who Infused Fashion With
  16
                    Life and Art,” The New York Times
  17                Article by Amy Spindler (cited in the
                    Goldaper Expert Report)
  18

  19                (VERS0004795 - VERS0004799)
  20    203.        6/5/2014 “Jennifer Lopez Wore THAT
  21
                    Iconic Green Versace Dress Again (and
                    It’s Still Just as Sexy!),” Glamour
  22                Article by Leah Clinton (cited in the
  23
                    Goldaper Expert Report)

  24                (VERS0004814 - VERS0004817)
  25    204.        Khloe Kardashian Instagram Page
  26                (cited in the Goldaper Expert Report)

  27                (VERS0006047 - VERS0006048)
  28
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   1     Exhibit
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   2
        205.       Kylie Jenner Instagram Page (cited in
   3               the Goldaper Expert Report)
   4               (VERS0004810 - VERS0004811)
   5
        206.       9/29/2018 “Michael Kors is buying
   6               Versace in a $2.12 billion deal. Here’s
   7
                   the complete story of how Versace
                   became so iconic,” Business Insider
   8               Article by Jessica Tyler (cited in the
   9               Goldaper Expert Report)

  10               (VERS0006839 - VERS0006851)
  11    207.       8/21/2019 “Celebrities in Versace
  12               print: Irina Shayk, Kylie Jenner, and
                   more tempt us with all-over, classic
  13               Gianni patterns,” Buro 24/7 Singapore
  14               Article by Ryan Sng (cited in the
                   Goldaper Expert Report)
  15
                   (VERS0004800 - VERS0004803)
  16

  17    208.       Versace Fashion Show Expenses by
                   Year (VERS0001289) (cited in the
  18               Goldaper Expert Report)
  19
        209.       Versace Twitter Page (cited in the
  20               Goldaper Expert Report)
  21               (VERS0006742 - VERS0006748)
  22
        210.       Versace Instagram Page (cited in the
  23               Goldaper Expert Report)
  24
                   (VERS0004804 - VERS0004806)
  25
        211.       Versace Facebook Page,
  26               https://www.facebook.com/versace/
  27               (cited in the Goldaper Expert Report)

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   1      Exhibit
           No.             Exhibit Description               Date Identified   Date Admitted
   2
                    (VERS0006665 - VERS0006667)
   3
        212.        11/9/2011 “Versace and H&M Go Big
   4                For Collaboration Runway
   5                Extravaganza,” PopSugar Article (cited
                    in the Goldaper Expert Report)
   6

   7
                    (VERS0005340 - VERS0005391)*

   8    213.        10/20/2011 “The Complete Versace
                    For H&M Lookbook,” PopSugar
   9
                    Article by Tommye Fitzpatrick (cited
  10                in the Goldaper Expert Report)
  11                (VERS0006852 - VERS0007062)*
  12
        214.        9/22/2017 “See Every Look From
  13                Versace’s Spring 2018 Show Honoring
                    Gianni Versace,” Harper’s Bazaar
  14
                    Article by Lauren Fisher (cited in the
  15                Goldaper Expert Report)
  16                (VERS0005320 - VERS0005334)
  17
        215.        Versace Sustainability FAQS (cited in
  18                the Goldaper Expert Report)
  19                (VERS0007935 – VERS0007936)
  20
        216.        Exhibit A of the 7/10/2020 Gabriele
  21                Goldaper Expert Report: FN Vendor
  22
                    List

  23    217.        Exhibit B of the 7/10/2020 Gabriele
                    Goldaper Expert Report: Examples of
  24
                    Celebrities Wearing Versace
  25
        218.        Exhibit C of the 7/10/2020 Gabriele
  26                Goldaper Expert Report: Examples of
  27                Advertising Campaigns and Editorials
                    Featuring the Jungle Dress/Print
  28
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   1     Exhibit
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   2
        219.       Exhibit D of the 7/10/2020 Gabriele
   3               Goldaper Expert Report: Examples of
   4
                   Baroque Prints and Baroque Trade
                   Dress Featured in Versace Fashion
   5               Show
   6    220.       Exhibit E of the 7/10/2020 Gabriele
   7               Goldaper Expert Report: Examples of
                   Advertising Campaigns and Editorials
   8
                   Featuring the Baroque Print and Trade
   9               Dress
  10    221.       Exhibit F of the 7/10/2020 Gabriele
  11               Goldaper Expert Report: Examples of
                   Advertising Campaigns and Editorials
  12               Featuring the Pop Hearts Print
  13
        222.       Exhibit G of the 7/10/2020 Gabriele
  14               Goldaper Expert Report: Examples of
                   Infringing Products by FN
  15

  16    223.       Exhibit H of the 7/10/2020 Gabriele
                   Goldaper Expert Report: Examples of
  17               Kylie Jenner, Cardi B, and Khloe
  18               Kardashian Wearing Versace
  19    224.       Exhibit I of the 7/10/2020 Gabriele
  20
                   Goldaper Expert Report: Examples of
                   Consumer Association or Confusion
  21               with Versace
  22
        225.       5/31/2017 Techopedia Definition of
  23               “Query String” (cited in the Silver
                   Smith Expert Report)
  24

  25               (VERS0006314 - VERS0006315)

  26    226.       6/1/2006 “Black Hat SEO,” Practical
                   Ecommerce Article by Stephan
  27
                   Spencer (cited in the Silver Smith
  28
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   1      Exhibit
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   2
                    Expert Report)
   3
                    (VERS0006316 - VERS0006318)
   4

   5
        227.        “Doorway pages” Definition on Search
                    Console Help (cited in the Silver Smith
   6                Expert Report)
   7                (VERS0006319)
   8
        228.        3/17/2015 “What SEOs Need to Know
   9                About Google’s Doorway Pages Search
  10                Ranking Adjustment,” The SEM Post
                    Article by Jennifer Slegg (cited in the
  11                Silver Smith Expert Report)
  12
                    (VERS0006320 - VERS0006332)
  13
        229.        3/12/2007 “Google Warning Against
  14                Letting Your Search Results Get
  15                Indexed,” Search Engine Land Article
                    by Danny Sullivan (cited in the Silver
  16                Smith Expert Report)
  17
                    (VERS0007069 - VERS0007074)
  18
        230.        3/10/2007 “Search results in search
  19                results,” Article by Matt Cutts (cited in
  20                the Silver Smith Expert Report)
  21                (VERS0006333 - VERS0006344)
  22    231.        5/8/2015 “Google’s Doorway
  23                Algorithm is Live & Updates
                    Regularly,” The SEM Post Article by
  24                Jennifer Slegg (cited in the Silver
  25                Smith Expert Report)
  26                (VERS0006345 - VERS0006353)
  27
        232.        5/22/2018 “Giphy’s Visibility Drops:
  28                Conspiracy or Consequence?” Onely
                                                                      Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
           No.                Exhibit Description               Date Identified   Date Admitted
   2
                    Article by Tomek Rudzki (cited in the
   3                Silver Smith Expert Report)
   4                (VERS0006749 - VERS0006771)
   5
        233.        3/17/2018 “The Brackets Update –
   6                Analysis and Findings From The
   7
                    March 7, 2018 Google Algorithm
                    Update (and March 14 Tremor),” GSQi
   8                Article by Glenn Gabe (cited in the
   9                Silver Smith Expert Report)

  10                (VERS0006354 - VERS0006376)
  11    234.        Figures from the 7/10/2020 Chris
  12                Silver Smith Expert Report

  13    235.        Search Engine Land SEO Guide
                    Chapter 4: HTML Code & Search
  14
                    Engine Success Factors (cited in the
  15                Silver Smith Expert Report)
  16                (VERS0006377 - VERS0006386)
  17
        236.        Fashion Nova Robots.txt File (cited in
  18                the Silver Smith Expert Report)
  19                (VERS0006387 - VERS0006388)
  20
        237.        Fashion Nova Sitemap File (cited in the
  21                Silver Smith Expert Report)
  22                (VERS0006389 - VERS0006390)
  23
        238.        4/17/2020 “What are Sitemaps?”
  24                Sitemaps.org Article (cited in the Silver
  25                Smith Expert Report)

  26                (VERS0006391)
  27    239.        Alexander Fradkin LinkedIn Profile
  28                (cited in the Silver Smith Expert
                                                                      Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
           No.                Exhibit Description            Date Identified   Date Admitted
   2
                    Report)
   3
                    (VERS0007075 - VERS0007080)
   4

   5
        240.        2/2/2017 “A Small Player is in the Big
                    Leagues for Competitive Keywords…
   6                How?” Search Engine Journal Article
   7
                    by Ron Dod (cited in the Silver Smith
                    Expert Report)
   8
                    (VERS0006392 - VERS0006404)
   9

  10    241.        2/28/2018 “How Fashion Nova Won
                    the Internet,” WWD Article by Aria
  11                Hughes (cited in the Silver Smith
  12                Expert Report)

  13                (VERS0006405 - VERS0006419)
  14    242.        6/26/2018 “SEO: How to Win against
  15                Giant Competitors,” Practical
                    Ecommerce Article by Hamlet Batista
  16                (cited in the Silver Smith Expert
  17                Report)
  18                (VERS0006645 - VERS0006650)
  19    243.        1/30/2017 “How Celebrities Helped
  20                Fashion Nova Take Over Your
                    Instagram Feed,” Vice Article by
  21                Amirah Mercer (cited in the Silver
  22                Smith Expert Report)
  23                (VERS0007081 - VERS0007086)
  24    244.        6/10/2019 “How to make online
  25                reviews one of your most powerful
                    SEO weapons,” Search Engine Watch
  26
                    Article by Manish Dudharejia (cited in
  27                the Silver Smith Expert Report)
  28
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   1      Exhibit
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   2
                    (VERS0007087 - VERS0007102)
   3
        245.        1/17/2018 “How to Get More Reviews:
   4                The Ultimate Guide,” Yotpo Article by
   5                Aimee Millwood (cited in the Silver
                    Smith Expert Report)
   6

   7
                    (VERS0006420 - VERS0006438)

   8    246.        United States Patent 8,682,892 (cited in
                    the Silver Smith Expert Report)
   9

  10                (VERS0006439 - VERS0006454)

  11    247.        “Local Citations” Definition on Moz
                    (cited in the Silver Smith Expert
  12
                    Report)
  13
                    (VERS0006455 - VERS0006458)
  14
        248.        5/28/2008 “Local vs Traditional SEO:
  15
                    Why Citation Is The New Link,” David
  16                Mihm Article (cited in the Silver Smith
                    Expert Report)
  17

  18                (VERS0006459 - VERS0006465)
  19    249.        “Link Analysis in Web Information
  20
                    Retrieval” by Monika Henzinger (cited
                    in the Silver Smith Expert Report)
  21
                    (VERS0006466 - VERS0006471)
  22

  23    250.        9/24/2019 “Fashion Nova, the rise of
                    an Instagram based crowdsourcing and
  24                marketing model,” HBS Digital Article
  25                by CM (cited in the Silver Smith
                    Expert Report)
  26
                    (VERS0006786 - VERS0006795)
  27

  28
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   1     Exhibit
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   2
        251.       2/25/2020 "Influencer Marketing
   3               Grows 82% in 2019, Reaching $1.9
   4
                   Billion," Instascreener.com Article by
                   Weasel Labs (cited in the Silver Smith
   5               Expert Report)
   6               (VERS0006723 - VERS0006727)
   7
        252.       8/14/2019 “What is a Fashion Nova
   8               Ambassador and how much are they
   9               making on Instagram?,” MenSuck.com
                   Article by Danii Marie (cited in the
  10               Silver Smith Expert Report)
  11
                   (VERS0006691 - VERS0006695)
  12
        253.       “Object handles” Definition from
  13               Shopify Developers (cited in the Silver
  14               Smith Expert Report)

  15               (VERS0006739 - VERS0006741)
  16    254.       2020.09.03 Screenshot Image of FN
  17               Website Search Results for “Versace
                   Print”
  18
                   (VERS0006644)
  19

  20    255.       Images of celebrities in Versace(cited
                   in the Wind Expert Report)
  21

  22
                   (Including VERS0006226;
                   VERS0006227)
  23
        256.       Figures from the 7/10/2020 Yoram
  24               (Jerry) Wind Expert Report
  25
        257.       5/8/2019 “Cardi B makes fashion
  26               moves again with Vernon-based brand
  27               Fashion Nova,” Los Angeles Times
                   Article by Max Berlinger (cited in the
  28
                                                                   Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
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   2
                    Wind Expert Report)
   3
                    (VERS0006776 - VERS0006783)
   4

   5
        258.        8/28/2019 “Cardi B pairs a $30
                    Fashion Nova dress with $1,400 Tom
   6                Ford heels,” Page Six Article by
   7
                    Melissa Minton (cited in the Wind
                    Expert Report)
   8
                    (VERS0006784 - VERS0006785)
   9

  10    259.        5/11/2019 “Cardi B’s Second Fashion
                    Nova Collection Reportedly Made $1
  11                Million in a Day,” Teen Vogue Article
  12                by De Elizabeth (cited in the Wind
                    Expert Report)
  13
                    (VERS0006093 - VERS0006100)
  14

  15    260.        “Here’s How Many New Instagram
                    Followers J-Lo Got After She Walked
  16                Versace in her New Iconic Green
  17                Dress,” Footwear News Article by
                    Katie Abel (cited in the Wind Expert
  18                Report)
  19
                    (VERS0006172 - VERS0006178)
  20
        261.        9/27/2019 “Jennifer Lopez Gives Big
  21                Boost to Media Impact Value at Milan
  22                Fashion Week,” WWD Article by Lisa
                    Lockwood (cited in the Wind Expert
  23                Report)
  24
                    (VERS0006126 - VERS0006130)
  25
        262.        11/18/2017 “Jennifer Lopez thrills fans
  26
                    with live Dubai performance,” The
  27                National Article
  28
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                                                   30                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
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   2
                    (VERS0006114 - VERS0006116)
   3
        263.        Migos - Awards – IMDb
   4

   5
                    (VERS0006201 - VERS0006202)

   6    264.        Migos -Versace Lyrics – Genius Lyrics
                    (cited in the Wind Expert Report)
   7

   8                (VERS0006191 - VERS0006198)

   9    265.        Pinterest Image: “Cardi B Official IG
                    on Instagram: ‘My shoes Balenciaga
  10
                    but…’” (cited in the Wind Expert
  11                Report)
  12                (VERS0006144 - VERS0006146)
  13
        266.        2/5/2019 “Offset’s Son Kody And
  14                Daughter Kalea Style in $785+ Versace
                    Fashions,” BET Article by Tweety
  15
                    Elitou (cited in the Wind Expert
  16                Report)
  17                (VERS0006163 - VERS0006171)
  18
        267.        Romero Britto Products
  19
                    (VERS0006060 - VERS0006065)
  20

  21
        268.        Romero Britto x FN Collection (cited
                    in the Wind Expert Report)
  22
                    (VERS0006066 - VERS0006092)
  23

  24    269.        11/14/2017 “Serena Williams Returns
                    to the Red Carpet for the First Time
  25                After Having Her Baby,” Harper’s
  26                Bazaar Article by Erica Gonzales (cited
                    in the Wind Expert Report)
  27
                    (VERS0006134 - VERS0006143)
  28
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   1     Exhibit
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   2
        270.       11/21/2019 “Songs That Defined the
   3               Decade: Migos’ ‘Versace,’” Billboard
   4
                   Article by Patrick Lyons (cited in the
                   Wind Expert Report)
   5
                   (VERS0006796 - VERS0006799)
   6

   7    271.       The Carters: Apeshit – Awards, IMDb
                   (cited in the Wind Expert Report)
   8
                   (VERS0006189 - VERS0006190)
   9

  10    272.       Versace U.S. Revenue 2015-FY2020
                   (VERS0002124)
  11
        273.       9/20/2019 Versace Instagram Post
  12
                   “Debuting in the Spring-Summer 2000
  13               Collection …” (cited in the Wind
                   Expert Report)
  14

  15               (VERS0006247)

  16    274.       9/19/2019 “Versace Robes Are Now a
                   Wardrobe Basic,” GQ Article by
  17
                   Rachel Tashjian (cited in the Wind
  18               Expert Report)
  19               (VERS0006186 - VERS0006188)
  20
        275.       8/25/2018 Fashion Nova Men
  21               Instagram Post (cited in the Wind
  22
                   Expert Report)

  23               (VERS0006248)
  24    276.       1/22/2019 Fashion Nova Instagram
  25               Post (cited in the Wind Expert Report)

  26               (VERS0006249)
  27    277.       Appendix D_1 of the 7/10/2020 Yoram
  28               Wind Expert Report: Demographics of
                                                                  Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
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   2
                    Completes from the Fame Experiment*
   3
        278.        Appendix D_2 of the 7/10/2020 Yoram
   4                Wind Expert Report: Screening Qre
   5                and Results for Fame Experiment
                    Excel*
   6

   7    279.        Appendix D_3 of the 7/10/2020 Yoram
                    Wind Expert Report: Demographics of
   8                Completes from the Post Purchase
   9                Confusion Experiment*

  10    280.        Appendix D_4 of the 7/10/2020 Yoram
                    Wind Expert Report: Screening Qre
  11
                    and Results for Post Purchase
  12                Confusion Experiment Excel*
  13    281.        Appendix E of the 7/10/2020 Yoram
  14                Wind Expert Report: The Stimuli
  15    282.        Appendix F_1 of the 7/10/2020 Yoram
  16
                    Wind Expert Report: Questionnaire for
                    Fashion Brands Fame Experiment*
  17
        283.        Appendix F_2 of the 7/10/2020 Yoram
  18                Wind Expert Report: Screenshots of
  19                MQ for Fashion Brands Fame
                    Experiment*
  20

  21    284.        Appendix F_3 of the 7/10/2020 Yoram
                    Wind Expert Report: Questionnaire for
  22                Fashion Brands Post Purchase
  23                Confusion Experiment*

  24    285.        Appendix F_4 of the 7/10/2020 Yoram
                    Wind Expert Report: Screenshots of
  25
                    MQ for Fashion Brands Post Purchase
  26                Confusion Experiment*
  27    286.        Appendix G_1 of the 7/10/2020 Yoram
  28                Wind Expert Report: Data Tables for
                                                               Case No. 2:19-cv-10074-PA-RAO
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   2
                    Fashion Brands Fame Experiment
   3                Excel*
   4    287.        Appendix G_2 of the 7/10/2020 Yoram
   5                Wind Expert Report: Link to Raw Data
                    File for Fashion Brands Fame
   6                Experiment *
   7
        288.        Appendix H_1 of the 7/10/2020 Yoram
   8                Wind Expert Report: Full List of
   9                Verbatims Describing Versace Dresses
                    at Q2 and Q2a for Fashion Brand Fame
  10                Experiment*
  11
        289.        Appendix H_2 of the 7/10/2020 Yoram
  12                Wind Expert Report: List of Response
                    IDs that Said Versace at Q4 for
  13
                    Fashion Brands Fame Experiment*
  14
        290.        Appendix H_3 of the 7/10/2020 Yoram
  15                Wind Expert Report: List of Verbatims
  16                of Any Respondent Describing the
                    Versace Dress They Saw as 'Famous'
  17                for Fashion Brand Fame Experiment
  18                (Q2, Q2a)*
  19    291.        Appendix I of the 7/10/2020 Yoram
  20
                    Wind Expert Report: Verbatim File for
                    Fashion Brands Fame Experiment*
  21
        292.        Appendix J_1 of the 7/10/2020 Yoram
  22
                    Wind Expert Report: Data Tables for
  23                Fashion Brands Post Purchase
                    Confusion Experiment Excel*
  24

  25    293.        Appendix J_2 of the 7/10/2020 Yoram
                    Wind Expert Report: Link to Raw Data
  26                File for Fashion Brands Post Purchase
  27                Confusion Experiment*

  28
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   2
        294.       Appendix K_1 of the 7/10/2020 Yoram
   3               Wind Expert Report: List of Response
   4
                   IDs That Said Versace at Q1B, Q4, Q7
                   for Fashion Brands Post Purchase*
   5
        295.       Appendix K_2 of the 7/10/2020 Yoram
   6               Wind Expert Report: List of IDs and
   7               Verbatims for Figure 27 (Q1B, Q4, Q7)
                   for Fashion Brands Post Purchase
   8
                   Experiment*
   9
        296.       Appendix K_3 of the 7/10/2020 Yoram
  10               Wind Expert Report: List of Verbatims
  11               for Figure 29 (Q2, Q5, Q8) for Fashion
                   Brands Post Purchase Experiment*
  12
        297.       Appendix L of the 7/10/2020 Yoram
  13
                   Wind Expert Report: Verbatim File for
  14               Fashion Brands Post Purchase
                   Confusion Experiment*
  15

  16    298.       Appendix M of the 7/10/2020 Yoram
                   Wind Expert Report: Supporting
  17               Results of the Analysis of Consumer
  18               Conservations on the Social Media
                   Networks
  19

  20
        299.       Appendix N_1 of the 7/10/2020 Yoram
                   Wind Expert Report: Raw Jungle Posts
  21               from 09/01/2019 - 09/20/2019 Excel
  22
        300.       Appendix N_2 of the 7/10/2020 Yoram
  23               Wind Expert Report: Raw Jungle Posts
                   from 10/01/2019 - 06/10/2020 Excel
  24

  25    301.       Appendix N_3 of the 7/10/2020 Yoram
                   Wind Expert Report: Raw Jungle Posts
  26               from 09/22/2019 - 09/30/2019 Excel
  27
        302.       Appendix N_4 of the 7/10/2020 Yoram
  28               Wind Expert Report: Raw Jungle Posts
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   2
                    from 01/01/2017 - 08/31/2019 Excel
   3
        303.        Appendix N_5 of the 7/10/2020 Yoram
   4                Wind Expert Report: Raw Jungle Posts
   5                from 09/21/2019 - 09/21/2019 Excel
   6    304.        Appendix N_6 of the 7/10/2020 Yoram
   7                Wind Expert Report: Raw Baroque
                    Posts from 01/01/2017 - 12/31/2017
   8                Excel
   9
        305.        Appendix N_7 of the 7/10/2020 Yoram
  10                Wind Expert Report: Raw Baroque
                    Posts from 01/01/2018 - 09/30/2018
  11
                    Excel
  12
        306.        Appendix N_8 of the 7/10/2020 Yoram
  13                Wind Expert Report: Raw Baroque
  14                Posts from 10/01/2018 - 06/16/2020
                    Excel
  15

  16
        307.        Appendix N_9 of the 7/10/2020 Yoram
                    Wind Expert Report: Raw FN Posts
  17                from 01/01/2017 - 06/10/2017 Excel
  18    308.        Appendix N_10 of the 7/10/2020
  19                Yoram Wind Expert Report: Jungle
                    Universe Excel
  20

  21    309.        Appendix N_11 of the 7/10/2020
                    Yoram Wind Expert Report: Baroque
  22                Universe Excel
  23
        310.        Appendix O_1 of the 7/10/2020 Yoram
  24                Wind Expert Report: Coded Jungle
                    Sample Excel
  25

  26    311.        Appendix O_2 of the 7/10/2020 Yoram
                    Wind Expert Report: Coded Baroque
  27                Sample Excel
  28
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   2
        312.       Appendix O_3 of the 7/10/2020 Yoram
   3               Wind Expert Report: Coded
   4
                   Benchmark Universe Excel

   5    313.       Appendix P_1 of the 7/10/2020 Yoram
                   Wind Expert Report: Versace
   6               Instagram Excel
   7
        314.       Appendix P_2 of the 7/10/2020 Yoram
   8               Wind Expert Report: FN Instagram
   9               Excel

  10    315.       Appendix P_3 of the 7/10/2020 Yoram
                   Wind Expert Report: FN Curve
  11
                   Instagram Excel
  12
        316.       Appendix P_4 of the 7/10/2020 Yoram
  13               Wind Expert Report: Jennifer Lopez
  14               Instagram Excel
  15    317.       Appendix P_5 of the 7/10/2020 Yoram
  16
                   Wind Expert Report: Cardi B
                   Instagram Excel
  17
        318.       8/26/2020 Fame Weighted Table by
  18               Yoram (Jerry) Wind (VERS0009020)*
  19
        319.       8/12/2020 Exhibits from Deborah
  20               Young’s Rebuttal Expert Report*
  21
        320.       5/27/2011 License Agreement Between
  22               Gianni Versace SPA and H&M
                   (VERS0001136 - VERS0001154)*
  23

  24    321.       2/16/2009 Contratta di Licenza -
                   Gianni Versace S.p.A and Swinger
  25               International S.p.A.
  26               (VERS0001181 - VERS0001277)*
  27    321T.      2/16/2009 Contratta di Licenza -
                   Gianni Versace S.p.A and Swinger
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   2
                    International S.p.A. (Certified English
   3                Translation)
   4
                    (VERS0009273 - VERS0009370)*

   5    322.        3/10/2011 Convenzione Transattiva Per
                    La Modifica Del Contratto Di Licenza
   6                Di Marchio- Gianni Versace S.p.A and
   7                Swinger International S.p.A.
                    (VERS0001155 - VERS0001180)*
   8

   9    322T.       3/10/2011 Convenzione Transattiva Per
                    La Modifica Del Contratto Di Licenza
  10                Di Marchio- Gianni Versace S.p.A and
  11                Swinger International S.p.A. (Certified
                    English Translation)
  12                (VERS0009238 - VERS0009264)*
  13
        323.        2/27/2018 Convenzione Transattiva Per
  14                La Modifica Del Contratto Di Licenza
                    Del Marchio - Gianni Versace S.p.A
  15
                    and Swinger International S.p.A.
  16                (VERS0001278 - VERS0001284)*
  17    323T.       2/27/2018 Convenzione Transattiva Per
  18                La Modifica Del Contratto Di Licenza
                    Del Marchio - Gianni Versace S.p.A
  19                and Swinger International S.p.A.
  20                (Certified English Translation)
                    (VERS0009265 - VERS0009272)*
  21

  22    324.        Versace North America 2017
                    Advertising Plan Excel
  23                (VERS0000803)
  24
        325.        Versace North America 2018
  25                Advertising Plan Excel
                    (VERS0000856)
  26

  27    326.        Versace North America 2019
                    Advertising Plan Excel
  28
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   1      Exhibit
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   2
                    (VERS0000807)
   3
        327.        Versace North America – Marketing
   4                Recap 2016-FY20 (VERS000901)
   5
        328.        Versace USA Regional Media Plan
   6                Spring/Summer 2017 (VERS0000852
   7                – VERS0000855)

   8    329.        Versace USA 1st half 2018 - Magazine
                    Ad Plan 2018 (VERS0000801 -
   9
                    VERS0000802)
  10
        330.        Versace North America Regional Ad
  11                Plan - Fall Winter 2018
  12                (VERS0000849 - VERS0000851)
  13    331.        Versace USA Events and Promotional
                    Expenses for Jungle, I Love NY, and
  14
                    Barocco Prints 2017-2020
  15                (VERS0000860)
  16    332.        Images of Celebrities in Baroque Prints
  17                and/or Baroque Trade Dress
                    (VERS0000401; VERS0000826;
  18                VERS0000580; VERS0000804;
  19                VERS0000805; VERS0000806;
                    VERS0000831; VERS0000833;
  20
                    VERS0000837; VERS0000841;
  21                VERS0000834; VERS0006156;
                    VERS0000840)
  22

  23    333.        Images of Celebrities in Medusa Head
                    (VERS0000827; VERS0000839)
  24
        334.        Images of Celebrities in the Jungle
  25
                    Print and/or the Jungle Trade Dress
  26                (VERS0000828; VERS0000728;
                    VERS0000699; VERS0000454;
  27
                    VERS0000708; VERS0000714;
  28                VERS0000751; VERS0000477;
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   1      Exhibit
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   2
                    VERS0000447; VERS0000453)*
   3
        335.        Images of Models in Versace for H&M
   4                Outfits
   5                (VERS0000688; VERS0000753)*
   6    336.        Images of J.Lo’s Versace Outfits at the
   7                2020 Super Bowl

   8                (VERS0006133; VERS0006131;
                    VERS0006132; VERS0006147;
   9
                    VERS0006148; VERS0006149;
  10                VERS0006154; VERS0006155)
  11    337.        Gianni Versace - Victoria and Albert
  12                Museum (cited in the Goldaper Report)
                    (VERS0001106 - VERS0001113)
  13
        338.        J.Lo's Green Dress in the Grammy
  14
                    Museum - Jennifer Lopez: The JLO
  15                Spot
                    (VERS0001114 - VERS0001117)
  16

  17    339.        1997 Gianni Versace - Metropolitan
                    Museum of Art, New York Catalogue
  18                (VERS0001898 - VERS0002090
  19
        340.        2002 The Art and Craft of Gianni
  20                Versace - V&A Publications
  21                (VERS0002134 - VERS0002298)

  22    341.        Versace Historical Archive
                    Authorization Form
  23
                    (VERS0004008 - VERS0004015)
  24
        342.        Advertising and Editorials Featuring
  25                the Jungle Print and/or Jungle Trade
  26                Dress
                    (VERS0000319; VERS0000338;
  27                VERS0000348; VERS0000354;
  28                VERS0000355; VERS0000367;
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   2
                    VERS0000396; VERS0000403;
   3                VERS0000416; VERS0000425;
   4
                    VERS0000656; VERS0000702;
                    VERS0000743)
   5
        343.        Advertising and Editorials Featuring
   6                the Baroque Prints and/or Baroque
   7                Trade Dress (VERS0000324;
                    VERS0000347; VERS0000360;
   8
                    VERS0000381; VERS0000427;
   9                VERS0000429; VERS0000885;)
  10    344.        Advertising and Editorials Featuring
  11                the Love Versace Print
                    (VERS0000412; VERS0000417;
  12                VERS0000433)*
  13
        345.        Advertising and Editorials Featuring
  14                the Medusa and/or Greca Trademarks
                    (VERS0000864; VERS0000869)
  15

  16    346.         Press Coverage of the Jungle Dress
                    (VERS0000749 - VERS0000750;
  17                VERS0000812 - VERS0000817;
  18                VERS0000818 - VERS0000824;
                    VERS0000844 - VERS0000848;
  19                VERS0000902; VERS0000922;
  20                VERS0000924; VERS0000926;
                    VERS0000978; VERS0000983;
  21                VERS0000991; VERS0000992;
  22                VERS0000993; VERS0000997;
                    VERS0001001; VERS0001002;
  23                VERS0001003; VERS0001011;
  24                VERS0001018; VERS0001020;
                    VERS0001021)
  25

  26    347.        7/22/2019 “That Iconic Versace
                    Jennifer Lopez Dress Is Now a
  27                Covetable Sneaker,” GQ Article by
  28                Tyler Watamanuk
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   1      Exhibit
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   2
                    (VERS0000913)
   3
        348.        12/3/2018 Versace Women's & Men's
   4                PF19 Show: US Online Media
   5                Coverage Report
                    (VERS0000929 - VERS0000976)
   6

   7    349.        Press Coverage of Versace’s Pre-Fall
                    2019 Fashion Show
   8                (VERS0000984; VERS0000986;
   9                VERS0001005; VERS0001017;
                    VERS0001023; VERS0001026)
  10
        350.        7/26/2019 “14 of Jennifer Lopez's Most
  11
                    Memorable Versace Looks,” Vogue
  12                Article by Ellen Burney
                    (VERS0000987)
  13

  14    351.        7/23/2019 “Jennifer Lopez's Iconic
                    Grammy's Versace Dress Turned Into
  15                Sneakers,” Fox News Article by Emily
  16                Kirkpatrick
                    (VERS0000996)
  17

  18
        352.        2/28/2018 “How Fashion Nova Won
                    the Internet,” WWD Article by Aria
  19                Hughes
  20                (VERS0005304 - VERS0005319)
  21
        353.        11/7/2018 “So Exactly How Did
  22                Fashion Nova Turn Around Those
  23                Kardashian Looks So Fast?” Cosmo
                    Article by Elizabeth Holmes
  24
                    (VERS0006651 - VERS0006664)
  25

  26    354.        12/16/2019 “Who is Hurt Most By
                    Fashion Nova’s Latest Controversy?”
  27                Refinery29 Article by Channing
  28
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   1      Exhibit
           No.                 Exhibit Description         Date Identified   Date Admitted
   2
                    Hargrove
   3
                    (VERS0006101 - VERS0006113)
   4

   5
        355.        3/2/2020 “Fashion Nova Reportedly
                    Spent $40 Million on Influencer
   6                Marketing in 2019,” Complex Article
   7
                    by Trace William Cowen

   8                (VERS0005335 - VERS0005339)
   9    356.        12/24/2018 “The Rise and Success of
  10                Fashion Nova,” Money Inc. Article by
                    Garrett Parker
  11
                    (VERS0005398 - VERS0005403)
  12

  13    357.        6/21/2019 “The secret of Fashion
                    Nova’s success,” Fashion United
  14                Article by Marjorie van Elven
  15
                    (VERS0006772 - VERS0006775)
  16
        358.        8/1/2019 “Irina Shayk Turns Up the
  17                Heat in a Versace Bralette and
  18                Matching Miniskirt,” Harper’s Bazaar
                    Article by Amy Mackelden
  19                (VERS0001024)
  20
        359.        9/25/2019 “Jennifer Lopez Posts
  21                Behind-the-Scenes Footage from Her
  22
                    Incredible Versace Fashion Show
                    Walk,” People Article by Claudia
  23                Harmata
  24
                    (VERS0001031)

  25    360.        Versace Women's SS20 Fashion Show
                    Press Coverage
  26
                    (VERS0002301 - VERS0002928)
  27
        361.        Versace Women's SS20 Fashion Show
  28                Press Coverage
                                                                 Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    (VERS0002929 - VERS0003177)
   3
        362.        9/18/2018 Versace Chemical Safety
   4                Specifications RSL for Raw Materials
   5                and Finished Products Revised
                    (VERS0000191 - VERS0000225)
   6

   7    363.        5/7/2018 Versace Physical-Mechanical
                    Safety Specifications Young
   8                (VERS0000226 - VERS0000246)
   9
        364.        9/18/2018 Versace Chemical Safety
  10                Specifications RSL for Raw Materials
                    and Finished Products Children
  11
                    (VERS0000247 - VERS0000282)
  12
        365.        2/28/2020 Co.De.Tex.Srl and
  13                Co.Te.Co Test Report No. 4320
  14                (VERS0000283 - VERS0000284)
  15    366.        3/16/2020 Anteprima E-Mail Del
  16
                    Rapportio Di Prova
                    (VERS0000779 - VERS0000781)
  17
        366T.       Certified English Translation of
  18                3/16/2020 Anteprima E-Mail Del
  19                Rapportio Di Prova
  20                (VERS0009043 – VERS0009046)
  21
        367.        Images of Models in Baroque and Love
  22                Versace Outfits at Versace’s Pre-fall
                    2019 Fashion Show
  23
                    (VERS0000494; VERS0000548;
  24                VERS0000556; VERS0000596;
                    VERS0000622; VERS0000627;
  25
                    VERS0000640; VERS0000641;
  26                VERS0000767)*
  27    368.        Versace’s Pre-Fall 2019 Runway Video
  28
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                                                  44                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    (VERS0000506)
   3
        369.        Images of Models in Jungle Outfits at
   4                Versace’s Spring/Summer 2000
   5                Fashion Show
                    (VERS0000657; VERS0000707;
   6                VERS0000717; VERS0000738;
   7                VERS0000742)
   8    370.        Image of Helena Christensen in Greca
   9                Outfit at Versace’s Spring/Summer
                    1991 Fashion Show
  10                (VERS0003694)
  11
        371.        Versace – Spring/Summer 1992
  12                Brochure
                    (VERS0003704 - VERS0003745)
  13

  14    372.        Jungle Dress History and Excerpts
                    (VERS0000042 - VERS0000045)
  15

  16
        373.        Versace Pre-Fall 2019 Story
                    (VERS0000747)
  17
        374.        Versace Website Screenshot of the
  18                Jungle Print Dress
  19                (VERS0002300)
  20    375.        Image of Versace Pillows from the
  21                1996 Catalogue
                    (VERS0003691)
  22
        376.        Image of Versace Pillows and Textile
  23
                    in Baroque Prints from the 1996
  24                Catalogue
                    (VERS0003692)
  25

  26    377.        1991 Model in Baroque Outfit Sketch
                    (VERS0003701)*
  27

  28
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   1     Exhibit
           No.            Exhibit Description            Date Identified   Date Admitted
   2
        378.       1991 Model in Wild Baroque Dress
   3               Sketch
   4
                   (VERS0003702)*

   5    379.       1991 Model in Baroque Outfit Sketch
                   (VERS0003703)*
   6

   7    380.       Rock and Royalty by Gianni Versace
                   (VERS0004016 - VERS0004290)
   8
        381.       1992 Versace
   9
                   (VERS0004291 - VERS0004554)
  10
        382.       Casa Versace: Living With Art
  11               (VERS0003178 - VERS0003352)
  12
        383.       The Art of Being You by Gianni
  13               Versace (VERS0003746 -
                   VERS0004007)
  14

  15    384.       FN Vendor Order Form No. 211287
                   (FN_009689)
  16

  17    385.       FN Vendor Order Form No. 211291
                   (FN_009746)
  18
        386.       FN Vendor Order Form No. 206532
  19
                   (FN_010193)
  20
        387.       FN Vendor Order Form No. 206532
  21               (FN_010248)
  22
        388.       FN Vendor Terms and Conditions of
  23               Purchase Agreement 10/17/17
                   (FN_003501 - FN_003504)
  24

  25    389.       FN Vendor MS Bubbles Inc. Purchase
                   Order #PO93877
  26               (FN_003505 - FN_003506)
  27
        390.       12/26/2019 Email from J. Jung to R.
  28               Fox re: Care Label Update - Flying
                                                               Case No. 2:19-cv-10074-PA-RAO
                                                 46              JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.              Exhibit Description            Date Identified   Date Admitted
   2
                    Tomato/Jealous Tomato with
   3                attachments
   4
                    (FN_004437 - FN_004451)

   5    391.        9/4/2018 Email from A. Chang to A.
                    McWilliams re: CHERRY MELLOW
   6                PO6172, 5126
   7                (FN_003567 - FN_003568)
   8    392.        FN Vendor Exclusivity Agreement
   9                with Cherry Mellow for Style No.
                    JP1548 (FN_003569)
  10
        393.        10/25/2018 Email from A. Chang to U.
  11
                    Maldonado re: JP1548: Cherry Mellow
  12                - PP Plus comments
                    (FN_003586)
  13

  14    394.        3/23/2018 Email from A. Chang to
                    kimd@fashionnova.com re:
  15                Fn30648,j10275,d50521 fashion queen
  16                mania po#211474(custom cut) with
                    attachments
  17                (FN_003213)
  18
        395.        FN Vendor Fashion Queen Mania Style
  19                D50521 Image
  20
                    (FN_003215)

  21    396.        FN Vendor Fashion Queen Mania
                    Styles T30648, T30649, P90247
  22
                    Images (FN_003216)
  23
        397.        FN Vendor Fashion Queen Mania
  24                Order No. 211474
  25                (FN_003217)

  26    398.        3/27/2018 Email from
                    PreProduction.Auditions to K. Deveau
  27
                    re: Fn30648,j10275,d50521 fashion
  28                queen mania po#211474(custom cut)
                                                                 Case No. 2:19-cv-10074-PA-RAO
                                                  47               JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.                Exhibit Description            Date Identified   Date Admitted
   2
                    with attachments
   3                (FN_003222 - FN_003223)
   4    399.        T.G.I Textile, Inc. S/P#01605 Image
   5                (FN_003227)
   6    400.        BNA Textile, Inc. Auditions PO#
   7                00884
                    (FN_003229)
   8
        401.        KOA Textile Image
   9
                    (FN_003232)
  10
        402.        Fashion Queen Mania Blue and Gold
  11                Textile
  12                (FN_003234)
  13    403.        Fashion Queen Mania Blue and Gold
                    Textile (FN_003235)
  14

  15    404.        LOBE Fabric Auditions PO#00750
                    (FN_003238)
  16

  17    405.        Fashion Queen Mania Black and Gold
                    Textile
  18                (FN_003239)
  19
        406.        3/27/2018 Email from K. Deveau to
  20                PreProduction.Auditions re:
                    Fn30648,j10275,d50521 fashion queen
  21
                    mania po#211474(custom cut)
  22                (FN_003250 - FN_003251)
  23    407.        5/24/2018 Email from
  24                PreProduction.Auditions to J. Park re:
                    NEW SAMPLE 05/24 with
  25                attachments
  26                (FN_003329)
  27    408.        FN Vendor Fashion Queen Mania
                    Dress and Headwrap Style Image
  28
                                                                   Case No. 2:19-cv-10074-PA-RAO
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    (FN_003344)
   3
        409.        FN Vendor Fashion Queen Mania
   4                Styles T30819, D50624 Images
   5                (FN_003345)
   6    410.        FN Vendor Fashion Queen Mania Style
   7                D50521 Image
                    (FN_003346)
   8
        411.        FN Vendor Fashion Queen Mania
   9
                    Green Dress Style Image
  10                (FN_003347)
  11    412.        FN Vendor Fashion Queen Mania Red,
  12                Black, and Gold Jumpsuit Style Image
                    (FN_003352)
  13
        413.        FN Vendor Fashion Queen Mania Style
  14
                    J10331 Image
  15                (FN_003353)
  16    414.        FN Vendor Fashion Queen Mania
  17                Styles T30806, J10339 Images
                    (FN_003370)
  18

  19    415.        FN Vendor Fashion Queen Mania
                    Brown Printed Jumpsuit and Headwrap
  20                Style Image
  21                (FN_003371)

  22    416.        5/24/2018 Email from U. Maldonado to
                    B. Reugebrink re: Fwd: NEW
  23
                    SAMPLE 05/24 with attachments
  24                (FN_003374 - FN_003375)
  25    417.        7/9/2018 Email from J. Wiley to
  26                PreProduction.Auditions re:
                    REORDER 7/9 - FASHION QUEEN
  27                MANIA
  28
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                                                 49                JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    (FN_003429 - FN_003430)
   3
        418.        10/12/2018 Email from
   4                PreProduction.Auditions to B. Niesta
   5                re: POTENTIAL REORDER 10/9/18 -
                    FASHION QUEEN MANIA
   6                (FN_003580 - FN_003582)
   7
        419.        1/18/2019 Email from J. Jung to
   8                Brandy@fashionnova.com re: Dress
   9                Recommendations (Fashion Queen
                    Mania)
  10                (FN_003770)
  11
        420.        FN Vendor Fashion Queen Mania Style
  12                D50873 Image
                    (FN_003773)
  13

  14    421.        FN Vendor Fashion Queen Mania Style
                    D50549 Image
  15                (FN_003774)
  16
        422.        FN Vendor Fashion Queen Mania Style
  17                D50873 Image
  18
                    (FN_003775)

  19    423.        11/29/2018 Email from H. Kim to S.
                    Shim re: DRESS LINE
  20
                    SHEET_OHS_11/28/18 with
  21                attachments (FN_003605)
  22    424.        FN Vendor Oh Yes Styles DSY2095,
  23                DSY2133, DSY2118, DSA2486,
                    DSY2114, DSY2094, DSY2120,
  24                DSY2119, DSA2474, DSY2115,
  25                DSA2433, DST1692, DSY2121,
                    DSA2436/DSA2436B, DST1610
  26                Images
  27                (FN_003606 - FN_003607)

  28
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   1     Exhibit
           No.              Exhibit Description           Date Identified   Date Admitted
   2
        425.       12/8/2018 Email from B. Niesta to H.
   3               Kim re: Meeting Pick-out
   4
                   Sample_OHY_12/05/18 with
                   attachment
   5               (FN_003624 - FN_003626)
   6    426.       12/8/2018 Email from S. Park to B.
   7               Niesta re: Meeting Pick-out
                   Sample_OHY_12/05/18
   8
                   (FN_003627 - FN_003629)
   9
        427.       1/17/2019 Email from S. Park to S.
  10               Esaloo re: FW: Style DSA2474
  11               additional Bodies with attachment
                   (FN_003755 - FN_003761)
  12
        428.       FN Vendor Exclusivity Agreement
  13
                   with Oh Yes Clothing for Style
  14               DSA2474P
                   (FN_003762)
  15

  16    429.       1/22/2019 Email from G. Burton to H.
                   Kim and S. Esaloo re: FW: Style
  17               DSA2474 additional Bodies with
  18               attachments
                   (FN_003814 - FN_003823)
  19

  20
        430.       7/11/2018 Email from A. Yoo to C.
                   Haines et al re: ST552 - VICTORIOUS
  21               with attachment
  22
                   (FN_003435)

  23    431.       FN Vendor Victorious Styles ST552J
                   and ST552P
  24
                   (FN_003436)
  25
        432.       7/12/2018 Email from A. Yoo to C.
  26               Haines et al re: MEETING RECAP
  27               ALL STYLES - VICTORIOUS with
                   attachments
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    (FN_003437)
   3
        433.        FN Vendor Victorious Style King
   4                Sublimation Polo Shirt PQ7302
   5                (FN_003441)
   6    434.        FN Vendor Victorious Style Royal
   7                Polo Shirts PQ7312
                    (FN_003442)
   8
        435.        FN Vendor Victorious Style Royal
   9
                    Lion Polo Shirt PQ7315
  10                (FN_003443)
  11    436.        FN Vendor Victorious Style Rich Print
  12                Track Suits ST552
                    (FN_003445)
  13
        437.        FN Vendor Victorious Style Royal
  14
                    Track Pants TR536
  15                (FN_003446)
  16    438.        FN Vendor Victorious Style Royal
  17                Track Pants TR539
                    (FN_003448)
  18

  19    439.        FN Vendor Victorious Style Stone
                    Tiger Sublimation T-Shirt TS7233
  20                (FN_003451)
  21
        440.        7/17/2018 Email from J. Ballantyne to
  22                A. Yoo re: PO 92252 REVISE
                    PLEASE with attachment (FN_003456
  23
                    - FN_003457)
  24
        441.        FN Vendor Victorious Purchase Order
  25                #PO92252
  26                (FN_003458 - FN_003459)
  27    442.        7/18/2018 Email from Z. Oliver to A.
                    Yoo re: VICTORIOUS PO'S with
  28
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   1      Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
                    attachments
   3                (FN_003468 - FN_003469)
   4    443.        FN Vendor Victorious Purchase Order
   5                #PO92249
                    (FN_003472 - FN_003473)
   6

   7    444.        FN Vendor Victorious Purchase Order
                    #PO92252
   8                (FN_003474 - FN_003475)
   9
        445.        FN Vendor Victorious Purchase Order
  10                #PO92253
                    (FN_003476 - FN_003479)
  11

  12    446.        FN Vendor Victorious Purchase Order
                    #PO92251
  13                (FN_003480 - FN_003483)
  14
        447.        7/27/2018 Email from J. Choi to TOP
  15                Fashionova re: VICTORIOUS RE: Top
  16
                    DROP OFF
                    (FN_003498)
  17
        448.        8/20/2018 Email from J. Ballantyne to
  18                A. Yoo et al re: Victorious Re Order
  19                8/20
                    (FN_003510)
  20

  21    449.        8/21/2018 Email from A. Yoo to C.
                    Haines et al re: ST552 BLACK
  22                REORDER
  23                (FN_003511)

  24    450.        8/22/2018 Email from A. Yoo to C.
                    Haines et al re: PQ7301 -
  25
                    VICTORIOUS
  26                (FN_003512 - FN_003513)
  27    451.        3/26/2019 Email from A. Yoo to R.
  28                Krempaszky re: VICTORIOUS
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    REORDERS – 3.25.2019
   3                (FN_004032 - FN_004034)
   4    452.        3/26/2019 Email from A. Yoo to R.
   5                Krempaszky re: VICTORIOUS
                    REORDERS - 3.25.2019
   6                (FN_004050 - FN_004054)
   7
        453.        4/4/2019 Email from R. Krempaszky to
   8                A. Yoo et al re: VICTORIOUS
   9                REORDERS - 4.2.2019
                    (FN_004060 - FN_004062)
  10
        454.        8/27/2019 Email from S. Choi to S.
  11
                    Duran re: ES7768 RTV with
  12                attachment
                    (FN_017145 - FN_017146)
  13

  14    455.        Kidoo Nam Signed Indemnification
                    Agreement 9/17/18
  15                (FN_017147)
  16
        456.        RTV1213 Eros Inc. Vendor Return
  17                Authorization 9/3/2019
  18
                    (FN_017150 - FN_017151)

  19    457.        FN Sales Department Spreadsheet
                    (FN_017184)
  20

  21    458.        FN Customer Inquiry #14253893 -Kim
                    Kardashian Naomi Campbell Versace
  22                dress - 3/26/2019
  23                (FN_006351)

  24    459.        FN Customer Inquiry #6783793 -
                    Customer Idea - 5/12/2018
  25
                    (FN_006375)
  26
        460.        FN Customer Inquiry #58887 - Best
  27                Dressed #GoldenGlobes... - 1/11/2015
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    (FN_006879 - FN_006880)
   3
        461.        FN Customer Inquiry #9255417 - In
   4                search of item - 10/4/2018
   5                (FN_006328)
   6    462.        FN Customer Inquiry #7758381 –
   7                Haven’t gotten my order. Orders
                    Saturday night… - 7/17/2018
   8                (FN_006332)
   9
        463.        FN Customer Inquiry #8734184 - The
  10                Versace looking pants on will he said
                    under tiger - 9/8/2018
  11
                    (FN_006342)
  12
        464.        FN Customer Inquiry #11332541 -
  13                Never receive my credit nor
  14                merchandise bavk - 12/4/2018
                    (FN_006345)
  15

  16
        465.        FN Customer Inquiry #16611118 -
                    ITEM -7/23/2019 (FN_006356)
  17
        466.        FN Customer Inquiry #18818693 -
  18                never got what I ordered - 12/9/2019
  19                (FN_006361 - FN_006363)
  20    467.        FN Customer Inquiry #2913282 -
  21                Inquires - 10/7/2017
                    (FN_006364 - FN_006365)
  22
        468.        FN Customer Inquiry #6384059 - Re:
  23
                    BACK IN STOCK Alert! - 4/13/2018
  24                (FN_006376 - FN_006377)
  25    469.        FN Customer Inquiry #3100046 -
  26                Don’t miss out! Your Cart expires
                    soon@FashionNova.com… -
  27                10/22/2017
  28
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   1      Exhibit
           No.             Exhibit Description               Date Identified   Date Admitted
   2
                    (FN_006386)
   3
        470.        FN Customer Inquiry #11667653 -
   4                Missing Item - 12/9/2018
   5                (FN_006390 - FN_006391)
   6    471.        FN Customer Inquiry #14276844 - Size
   7                Request - 3/27/2019
                    (FN_006401)
   8
        472.        FN Customer Inquiry #2701710 - Kiri
   9
                    set - 9/18/2017
  10                (FN_006402)
  11    473.        FN Customer Inquiry #18208481 -
  12                Angela Marshall replied to a sponsored
                    message… - 11/8/2019 (FN_006426)
  13
        474.        FN Customer Inquiry #15463716 –
  14
                    HELLO - 5/21/2019
  15                (FN_006442)
  16    475.        FN Customer Inquiry #8482079 - FW:
  17                [Fashion Nova] Pending request… -
                    8/28/2018
  18                (FN_006588 - FN_006590)
  19
        476.        FN Customer Inquiry #11916855 -
  20                Return Policy - 12/13/2018
  21                (FN_006591 - FN_006594)

  22    477.        FN Customer Inquiry #12634846 - Re:
                    Your Fashion Nova Gift Card is
  23
                    Ready! - 1/20/2019
  24                (FN_006595 - FN_006597)
  25    478.        FN Customer Inquiry #4811975 - Your
  26                Order Has Been Cancelled -
                    01/19/2018
  27                (FN_006467 - FN_006468)
  28
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   1     Exhibit
           No.              Exhibit Description              Date Identified   Date Admitted
   2
        479.       FN Customer Inquiry #1117228 -
   3               Missing Item - 2/3/2017
   4
                   (FN_006471 - FN_006475)

   5    480.       FN Inquiry #8372501 - Distributor -
                   8/23/2018
   6               (FN_006381)
   7
        481.       FN Inquiry #13741120 - wholesale
   8               goods requirement - 3/5/2019
   9               (FN_006382 - FN_006383)

  10    482.       FN Inquiry #13611045 - As a special
                   offer, take 30% off your purchase. Tap
  11
                   the button below - 2/27/2019
  12               (FN_006429)
  13    483.       FN Inquiry #1525987 - [Contact &
  14               Lead Form] - 5/11/2017 (FN_006430 -
                   FN_006431)
  15

  16
        484.       “Fashion Nova's Celebrity Halloween
                   Costumes Are So Good,” Refinery29
  17               Article
  18
                   (FN_001308 - FN_001311)

  19    485.       “Fashion Nova Released a Collection
                   of Halloween Costumes Inspired By
  20
                   All of Your Favorite Celebrities,” Teen
  21               Vogue Article
                   (FN_001312 – FN_001313)
  22

  23    486.       Infringing Products
                   (FN_004826 - FN_004866)
  24
        487.       FN IP Enforcement Actions Against
  25
                   Third Parties (FN_004877 –
  26               FN_005729)
  27    488.       FN Influencer Agreement
  28
                                                                   Case No. 2:19-cv-10074-PA-RAO
                                                  57                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.             Exhibit Description                   Date Identified   Date Admitted
   2
                    (FN_021759 - FN_021764)
   3
        489.        FN Sales By Style Excel
   4                (FN_021819)
   5
        490.        7/3/2020 Defendant's Supplemental
   6                Responses to Plaintiff's First Set of
   7                Interrogatories

   8    491.        Ex. A to 7/3/2020 Defendant's
                    Supplemental Responses to Plaintiff's
   9
                    First Set of Interrogatories - Fashion
  10                Nova - Sales by Style Excel
  11    492.        8/3/2020 Defendant's Second
  12                Supplemental Responses to Plaintiff’s
                    First Set of Interrogatories
  13
        493.        Exhibit A to 8/3/2020 Defendant's
  14
                    Second Supplemental Responses to
  15                Plaintiff’s First Set of Interrogatories -
  16
                    Sales by Style Additional Styles Excel

  17    494.        Exhibit B to 8/3/2020 Defendant's
                    Second Supplemental Responses to
  18                Plaintiff’s First Set of Interrogatories -
  19                116 New Styles Excel
  20    495.        Exhibit C to 8/3/2020 Defendant's
  21                Second Supplemental Responses to
                    Plaintiff’s First Set of Interrogatories -
  22                Fashion Nova Non-Public C+D Letter
  23                Excel

  24    496.        8/16/2020 Defendant's Written
                    Responses and Objections to Plaintiff’s
  25
                    Second Set of Interrogatories
  26
        497.        7/26/2019 Letter from Francesca Bosio
  27                to Erica Meierhans re: Unauthorized
  28                use of Gianni Versace S.r.l. Intellectual
                                                                       Case No. 2:19-cv-10074-PA-RAO
                                                      58                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description              Date Identified   Date Admitted
   2
                    Property by Fashion Nova
   3                (VERS0001094 - VERS0001100)
   4    498.        8/9/2019 Letter from Erica Meierhans
   5                to Francesca Bosio re: Alleged
                    Unauthorized Use of the Gianni
   6                Versace S.r.l.'s ("Versace") trademarks
   7                (VERS0001093)
   8    499.        9/20/2019 Email from K. McDonough
   9                to E. Meierhans re: Infringement - J Lo
                    / Versace - Immediate Response
  10                Required
  11                (VERS0000788 - VERS0000789)

  12    500.        9/5/2017 Letter from Francesca Bosio
                    to
  13
                    customer.services@prettylittlething.co
  14                m re: Unauthorized use of an iconic
                    design owned by Gianni Versace
  15
                    S.p.A. with attachments
  16                (VERS0002103 - VERS0002106)
  17    501.        12/6/2018 Letter from Francesca Bosio
  18                to Chiaro di Luna
                    (VERS0002112 - VERS0002123)
  19

  20
        501T.       Certified English Translation of
                    12/6/2018 Letter from Francesca Bosio
  21                to Chiaro di Luna
  22                (VERS0009049 – VERS0009061)
  23
        502.        1/23/2019 Letter from Francesca Bosio
  24                to P.R. S.p.A.
  25                (VERS0002091 - VERS0002102)

  26    502T.       Certified English Translation of
                    1/23/2019 Letter from Francesca Bosio
  27
                    to P.R. S.p.A.
  28
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   1      Exhibit
           No.             Exhibit Description                  Date Identified   Date Admitted
   2
                    (VERS0009062 – VERS0009074)
   3
        503.        2/22/2019 Letter from Avv. Paolo
   4                Lazzarino and Avv. Margherita Banfi
   5                to F. Bosio
                    (VERS0002107)
   6

   7    503T.       Certified English Translation of
                    2/22/2019 Letter from Avv. Paolo
   8                Lazzarino and Avv. Margherita Banfi
   9                to F. Bosio

  10                (VERS0009047 – VERS0009048)
  11    504.        8/1/2019 Letter from Francesca Bosio
  12                to Pellini Pty Ltd. re: Unauthorized sale
                    of products bearing VERSACE
  13                trademark with attachments
  14                (VERS0002108 - VERS0002111)

  15    505.        10/4/2019 Letter from Francesca
                    Witzburg to Chad Horstman re: Gianni
  16
                    Versace S.r.l. - Infringement
  17                (VERS0001044 - VERS0001045)
  18    506.        10/4/2019 Email from Thecostumeland
  19                to J. Curtis re: RE: Gianni Versace
                    S.r.l. - Infringement - Response due by
  20                10/11
  21                (VERS0001077 - VERS0001078)
  22    507.        10/4/2019 Letter from Francesca
  23                Witzburg to Tom Fallenstein re: Gianni
                    Versace S.r.l. - Infringement
  24                (VERS0001038 - VERS0001039)
  25
        508.        10/11/2019 Email from T. Fallenstein
  26                to J. Curtis re: Gianni Versace S.r.l.
                    (VERS0001066)
  27

  28
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   1     Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
        509.       10/15/2019 Email from T. Fallenstein
   3               to F. Witzburg et al re: RE: Gianni
   4
                   Versace S.r.l.
                   (VERS0001067 - VERS0001068)
   5
        510.       10/4/2019 Letter from Francesca
   6               Witzburg to Indie XO re: Gianni
   7               Versace S.r.l. - Infringement
                   (VERS0001040 - VERS0001041)
   8

   9    511.       10/16/2019 Letter from Alexander
                   Petale to Francesca Witzburg re:
  10               Gianni Versace & Alleged
  11               Infringement
                   (VERS0001046)
  12
        512.       11/21/2019 Letter from Francesca
  13
                   Witzburg to Alexander Petale re:
  14               Gianni Versace S.r.l. - Infringement
                   with attachments
  15
                   (VERS0001047 - VERS0001049)
  16
        513.       10/7/2019 Letter from Krista
  17               McDonough to Rachel Brand re:
  18               Gianni Versace S.r.l. - Infringement
                   (VERS0001054 - VERS0001055)
  19

  20
        514.       10/16/2019 Letter from Jenna Johnson
                   to Krista McDonough re: Gianni
  21               Versace S.r.l. - Infringement Claim to
  22
                   Walmart
                   (VERS0001052 - VERS0001053)
  23
        515.       10/11/2019 Letter from Krista
  24
                   McDonough to David Zapolsky re:
  25               Gianni Versace S.r.l. - Infringement
                   (VERS0001056 - VERS0001057)
  26

  27    516.       10/24/2019 Email from J. Curtis to
                   copyright@amazon.com re: RE: RE:
  28               Gianni Versace S.r.l. - Infringement -
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   1      Exhibit
           No.              Exhibit Description              Date Identified   Date Admitted
   2
                    Response due by 10/18
   3                (VERS0001063 - VERS0001064)
   4    517.        10/11/2019 Letter from Francesca
   5                Witzburg to Sean Rahim re: Gianni
                    Versace S.r.l. - Infringement
   6                (VERS0001058 - VERS0001059)
   7
        518.        10/11/2019 Letter from Francesca
   8                Witzburg to Houman Salem re: Gianni
   9                Versace S.r.l. - Infringement
                    (VERS0001060 - VERS0001061)
  10
        519.        10/16/2019 Letter from David Schnider
  11
                    to Francesca Witzburg re: Gianni
  12                Versace S.r.l. Infringement Claim with
                    attachment
  13
                    (VERS0001050 - VERS0001051)
  14
        520.        12/3/2019 Letter from Francesca
  15                Witzburg to David Schnider re: Gianni
  16                Versace S.r.l. - Infringement with
                    attachment
  17                (VERS0001086 - VERS0001090)
  18
        521.         FN Website Screenshots of Infringing
  19                Fashion Nova Products
  20
                    (VERS0001294 – VERS0001322;
                    VERS0001328 – VERS0001368;
  21                VERS0001377 – VERS0001385;
  22
                    VERS0001390 – VERS0001407;
                    VERS0001426 – VERS0001468;
  23                VERS0001473 – VERS0001477;
  24                VERS0001482 – VERS0001491;
                    VERS0001496 – VERS0001623;
  25                VERS0001628 – VERS0001699;
  26                VERS0001702 –VERS0001880)

  27    522.        3/18/2009 Sotheby's - Paintings,
                    Furniture and Works of Art From The
  28
                                                                   Case No. 2:19-cv-10074-PA-RAO
                                                  62                 JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description            Date Identified   Date Admitted
   2
                    Collection of Gianni Versace Villa
   3                Fontanelle, Moltrasio
   4
                    (VERS0002125 - VERS0002133)

   5    523.        The Assassination of Gianni Versace:
                    American Crime Story – Emmy
   6                Awards, Nominations, and Wins,
   7                Emmys.com,
                    https://www.emmys.com/shows/assassi
   8
                    nation-gianni-versace-american-crime-
   9                story
  10                (VERS0007937 – VERS0007938)
  11
        524.        Screenshot of Versace Official Online
  12                Store
  13                (VERS0006738)
  14
        525.        Versace Products on Versace Website
  15                – Barocco Search Results
  16                (VERS0005061 - VERS0005303)
  17
        526.        Versace Products on Versace Website
  18                – Baroque Search Results
  19                (VERS0004818 - VERS0005060)
  20
        527.        Versace Products on Versace Website
  21                – Greca Search Results
  22                (VERS0005804 - VERS0005984)
  23
        528.        Versace Products on Versace Website
  24                – Jungle Search Results
  25
                    (VERS0005985 - VERS0006046)
  26
        529.        Versace Products on Versace Website
  27                – Medusa Search Results
  28
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   1      Exhibit
           No.             Exhibit Description            Date Identified   Date Admitted
   2
                    (VERS0005404 - VERS0005793)
   3
        530.        Image of Versace Product Tag
   4

   5
                    (VERS0006737)

   6    531.        Images of Versace’s Past Fashion
                    Shows
   7

   8                (VERS0006668 - VERS0006690;
                    VERS0006696 - VERS0006722;
   9                VERS0006728 - VERS0006736;
  10                VERS0007610 – VERS0007934;
                    VERS0008178 – VERS0008999;
  11                VERS0009006 - VERS0009019)
  12
        532.        1/14/2018 Versace Men’s Fall-Winter
  13                2018 | Fashion Show, YouTube,
                    https://www.youtube.com/watch?v=pe
  14
                    blVEq-hyg&app=desktop
  15
                    (VERS0009040)
  16
        533.        Versace Spring/Summer 1992 Fashion
  17
                    Show Video (1-3)
  18
                    (VERS0009000 – VERS0009002)
  19

  20
        534.        9/23/2017 Versace Women's Spring-
                    Summer 2018 - Fashion Show,
  21                YouTube,
  22
                    https://www.youtube.com/watch?v=Q0
                    iLg-fgNbE
  23
                    (VERS0009038)
  24

  25    535.        7/15/2011 From the Videofashion
                    Vault: Gianni Versace, YouTube,
  26                https://www.youtube.com/watch?v=kl6
  27                z1l-QNJQ

  28
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    (VERS0009026)
   3
        536.        3/12/2014 Master of Beauty: Gianni
   4                Versace, YouTube,
   5                https://www.youtube.com/watch?v=29
                    MgDyR91fY
   6

   7
                    (VERS0009035)

   8    537.        9/21/2019 Jennifer Lopez Tells the
                    Story of the Green Versace Dress -
   9
                    Vogue, YouTube,
  10                https://www.youtube.com/watch?v=BT
                    yBFcEgc-A (cited in the Goldaper
  11
                    report)
  12
        538.        7/24/2020 Jennifer Lopez (& The
  13                Green Versace Dress) Presents Best
  14                R&B Album At 2000 GRAMMYs |
                    Grammy Rewind, YouTube,
  15                https://www.youtube.com/watch?v=m
  16                To9jR5TU3k
  17                (VERS0009022)
  18    539.        8/13/2017 Bruno Mars – Versace on
  19                the Floor (Official Video), YouTube,
                    https://www.youtube.com/watch?v=-
  20                FyjEnoIgTM (cited in the Goldaper
  21                report)
  22                (VERS0009027)
  23    540.        9/30/2013 Migos – Versace (Official
  24                Video), YouTube,
                    https://www.youtube.com/watch?v=rF-
  25
                    hq_CHNH0 (cited in the Wind report)
  26
                    (VERS0009031)
  27
        541.        6/16/2018 APES**T – THE
  28
                                                                 Case No. 2:19-cv-10074-PA-RAO
                                                  65               JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description                Date Identified   Date Admitted
   2
                    CARTERS, YouTube,
   3                https://www.youtube.com/watch?v=kb
   4
                    MqWXnpXcA (cited in the Wind
                    report)
   5
                    (VERS0009029)
   6

   7    542.        11/10/2011 La vidéo Versace pour
                    H&M, YouTube,
   8                https://www.youtube.com/watch?v=6V
   9                AO8ellsfM (cited in the Goldaper
                    report)
  10
                    (VERS0009021)*
  11

  12    543.        Appendix A of the 7/10/2020 Silver
                    Smith Expert Report: CV of Chris
  13                Silver Smith
  14
        544.        Appendix A of the 7/10/2020 Gabriele
  15                Goldaper Expert Report: CV of
                    Gabriele Goldaper
  16

  17    545.        Deborah Young CV
  18    546.        Exhibit 1.0 of the 7/10/2020 James
  19
                    Donohue Expert Report: CV of James
                    Donohue
  20
        547.        Appendix A of the 7/10/2020 Dr.
  21
                    Yoram (Jerry) Wind Expert Report: Dr.
  22                Wind’s Resume
  23    548.        9/8/2020 Defendant’s Supplemental
  24                Written Responses and Objections to
                    Plaintiff’s Second Set of Interrogatories
  25
        549.        Exhibit A to 9/8/2020 Defendant’s
  26
                    Supplemental Written Responses and
  27                Objections to Plaintiff’s Second Set of
                    Interrogatories: FN Sales Breakdown –
  28
                                                                      Case No. 2:19-cv-10074-PA-RAO
                                                    66                  JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.               Exhibit Description              Date Identified   Date Admitted
   2
                    Infringing Styles and Total Sales Excel
   3
        550.        Exhibit B to 9/8/2020 Defendant’s
   4                Supplemental Written Responses and
   5                Objections to Plaintiff’s Second Set of
                    Interrogatories: 2016 – YTD Jul 2020
   6                Sales Breakdown Excel
   7
        551.        Verification of 9/8/2020 Defendant’s
   8                Supplemental Written Responses and
   9                Objections to Plaintiff’s Second Set of
                    Interrogatories
  10
        552.        Chrome Hearts LLC v. Fashion Nova –
  11
                    Complaint (D.I. 1)
  12
                    (VERS0007492 - VERS0007506)
  13
        553.        Deckers Outdoor Corp. v. Fashion
  14
                    Nova – Complaint (D.I. 1)
  15
                    (VERS0007473 - VERS0007491)
  16

  17
        554.        Adidas Am v. Fashion Nova -
                    Complaint (D.I. 1)
  18
                    (VERS0007282 - VERS0007310)
  19

  20
        555.        Adidas Am. v. Fashion Nova – First
                    Amended Complaint (D.I. 22)
  21
                    (VERS0007311 - VERS0007341)
  22

  23    556.        Adidas Am. v. Fashion Nova – Second
                    Amended Complaint (D.I. 40)
  24
                    (VERS0007412 - VERS0007442)
  25

  26    557.        Adidas Am. v. Fashion Nova – Third
                    Amended Complaint (D.I. 65)
  27
                    (VERS0007507 - VERS0007552)
  28
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   1     Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
        558.       Adidas Am v. Fashion Nova –
   3               Answer/Counterclaim to First
   4
                   Amended Complaint (D.I.31)

   5               (VERS0007342 - VERS0007359)
   6    559.       Adidas Am. V. Fashion Nova –
   7
                   Answer/Counterclaim to Third
                   Amended Complaint (D.I. 71)
   8
                   (VERS0007450 - VERS0007472)
   9

  10    560.       Jitrade v. En Coree USA – First
                   Amended Complaint (D.I. 34)
  11
                   (VERS0007377 - VERS0007389)
  12

  13    561.       Jitrade v. Fashion Nova – Complaint
                   (D.I. 2-1)
  14
                   (VERS0007366 - VERS0007376)
  15

  16    562.       Klauber Brothers, Inc. v. Hera
                   Collection, Inc. – Complaint (D.I. 1)
  17
                   (VERS0007556 - VERS0007565)
  18

  19    563.       Star Fabrics v. Fashion Nova –
                   Complaint (D.I. 1)
  20

  21
                   (VERS0007360 - VERS0007365)

  22    564.       C & SM Int’l v. Privy, Inc. –
                   Complaint (D.I. 1)
  23

  24               (VERS0007390 - VERS0007399)

  25    565.       C & SM Int’l v. Privy, Inc. – First
                   Amended Complaint (D.I. 20)
  26

  27               (VERS0007400 - VERS0007411)

  28
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   1     Exhibit
           No.              Exhibit Description           Date Identified   Date Admitted
   2
        566.       Backgrid v. Fashion Nova – Complaint
   3               (D.I. 1)
   4               (VERS0007264 - VERS0007272)
   5
        567.       Backgrid v. Fashion Nova – First
   6               Amended Complain (D.I. 18)
   7
                   (VERS0007273 - VERS0007281)
   8
        568.       Backgrid v. Fashion Nova – FRCP
   9               26(f) Report (D.1.25)
  10
                   (VERS0007443 - VERS0007449)
  11
        569.       Backgrid v. Fashion Nova – Notice of
  12               Motion and Motion for SJ (D.I. 38)
  13
                   (VERS0007553 - VERS0007555)
  14
        570.       Backgrid v. Fashion Nova – Excerpts
  15               from Kimberly Lee 2/5/2020
  16               Deposition (D.I. 38-5)
  17               (VERS0007566 - VERS0007609)
  18    571.       Salt & Pepper Clothing v. Fashion
  19               Nova – Complaint (D.I. 1)
  20               (VERS0007250 - VERS0007256)
  21    572.       Salt & Pepper Clothing v. Fashion
  22               Nova - Rule 26(f) Report (D.I. 21)
  23               (VERS0007257 - VERS0007263)
  24
        573.       Chart of Fashion Nova Products and
  25               Versace IP and Products
  26               (VERS0009075 – VERS0009237)*
  27
        574.       7/10/2020 Expert Report of James J.
  28
                                                                Case No. 2:19-cv-10074-PA-RAO
                                                  69              JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.                Exhibit Description          Date Identified   Date Admitted
   2
                    Donohue
   3
        575.        8/12/2020 Rebuttal Expert Report of
   4                James J. Donohue
   5
        576.        7/10/2020 Expert Report of Gabriele
   6                Goldaper
   7
        577.        7/10/2020 Expert Report of Chris
   8                Silver Smith
   9    578.        7/10/2020 Expert Report of Dr. Yoram
  10                (Jerry) Wind

  11    579.        8/12/2020 Rebuttal Expert Report of
                    Deborah Young
  12

  13                       FASHION NOVA’S EXHIBIT LIST (580-981)
  14    580.        8/4/2015
  15
                    FASHION NOVA - Word Mark Reg.
                    No. 4785079
  16                FN_001314-66
  17
        581.        8/4/2015
  18                FASHION NOVA - Word Mark Reg.
                    No. 4785854
  19
                    FN_001367-1427
  20
        582.        8/4/2015
  21                FASHION NOVA - Word Mark Reg.
  22                No. 5276244
                    FN_001428-70
  23
        583.        8/29/2017
  24
                    FASHION NOVA - Word Mark Reg.
  25                No. 5276297
                    FN_001568-1610
  26

  27    584.        11/7/2017
                    FASHION NOVA - Word Mark Reg.
  28
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   1      Exhibit
           No.              Exhibit Description              Date Identified   Date Admitted
   2
                    No. 5328984
   3                FN_001797-1846
   4    585.        10/23/2018
   5                FASHION NOVA - Word Mark Reg.
                    No. 5591086
   6                FN_001611-79
   7
        586.        Fashion Nova - US Active Trademark
   8                Registrations and Applications (Group
   9                Exhibit) FN_025822-26236

  10    587.        11/25/2019 FORM AO 120 - Dkt. 5
  11    588.        Form VA blank copyright application
  12
                    FN_025179-82
  13
        589.        Standard Application - Registration
  14                Process Overview - PowerPoint
  15                FN_025183-206
  16    590.        7/14/2020
                    Email from D Johnson to A. Malbin re:
  17
                    Gianni Versace S.r.l. v. Fashion Nova,
  18                Inc. - Versace 2-d artwork files
                    FN_021820-33
  19

  20    591.        10/3/2019
                    Copyright Application for VA 2-173-
  21                518 - BAROCCO
  22                VERS00000291-93
  23    592.        8/27/2020 USPTO Petitions (Serial No.
  24                92074749) to Cancel Versace Greca
                    TMs - File History
  25                FN_025656-820
  26
        593.        5/18/2020 Plaintiff's Responses and
  27                Objections to Defendant's First Set of
                    Interrogatories
  28
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   1     Exhibit
           No.             Exhibit Description                Date Identified   Date Admitted
   2
        594.       7/17/2020 Plaintiff's Amended
   3               Responses and Objections to
   4
                   Defendant's First Set of Interrogatories

   5    595.       Need You Back Midi Dress -
                   Black/Combo
   6               FN_026562-63
   7               Ex 530_01-02
   8    596.       Fashion Nova Web Page Search
   9               Results - Need You Back Midi Dress
                   FN_021835
  10
        597.       Photos of Need You Back Midi Dress -
  11
                   Black/Combo
  12               FN_004858-59
  13    598.       Fly Away With Me Tropical Jumpsuit
  14               (Physical Exhibit)
                   FN_026564-66
  15
        599.       Fashion Nova Web Page - Fly Away
  16
                   With Me Tropical Jumpsuit
  17               FN_021851
  18    600.       More Than Enough Tropical Dress
  19               (Physical Exhibit)
                   FN_026567-69
  20

  21
        601.       Fashion Nova Web Page - More Than
                   Enough Tropical Dress
  22               FN_021852
  23
        602.       West Palms Tropical Maxi Dress -
  24               Green/Multi
                   FN_026570-72
  25

  26    603.       Fashion Nova Web Pages/Screenshots -
                   West Palms Tropical Maxi Dress -
  27               Green/Multi
  28
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    FN_003038-40
   3
        604.        Love Don't Cost A Thing 2 Piece
   4                Costume Set - Green/combo
   5                FN_026573-75
   6    605.        Fashion Nova Web Pages/Screenshots -
   7                Love Don't Cost A Thing 2 Piece
                    Costume Set - Green/combo
   8                FN_003026-3027
   9
        606.        Fashion Nova Web Page Search
  10                Results - Love Don't Cost A Thing
                    FN_021837
  11

  12    607.        Photos of Love Don't Cost A Thing 2
                    Piece Costume Set - Green/combo
  13                FN_004856-57
  14
        608.        Holy Rich Maxi Dress - Black
  15                FN_026576-78
  16    609.        Fashion Nova Web Pages/Screenshots -
  17                Holy Rich Maxi Dress - Black
                    FN_003021-3022
  18

  19
        610.        Fashion Nova Web Page Search
                    Results - Holy Rich Maxi Dress
  20                FN_021838
  21    611.        Photos of Holy Rich Maxi Dress -
  22                Black
                    FN_004830-4831
  23

  24    612.        Holy Rich Maxi Dress - White
                    FN_026579-81
  25
        613.        Photos of Holy Rich Maxi Dress -
  26
                    White
  27                FN_004828-4829
  28
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   1     Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
        614.       Too Rich For Who Dress - Blue/Multi
   3               (Physical Exhibit)
                   FN_026582
   4

   5    615.       Fashion Nova Web Page/Screenshots -
                   Too Rich For Who Dress - Blue/Multi
   6               FN_003036-37
   7
        616.       Let's Be Famous Shirt Dress -
   8               White/combo (Physical Exhibit)
   9               FN_026583

  10    617.       Fashion Nova Web Page/Screenshots -
                   Let's Be Famous Shirt Dress -
  11
                   White/combo
  12               FN_003023-25
  13    618.       Feeling Proper Midi Dress - Pink Multi
  14               (Physical Exhibit)
                   FN_026584
  15
        619.       Fashion Nova Web Page/Screenshots -
  16
                   Feeling Proper Midi Dress - Pink Multi
  17               FN_003018-20
  18    620.       Bel Air Estates Handkerchief Dress -
  19               White/Yellow (Physical Exhibit)
                   FN_026585
  20

  21
        621.       Fashion Nova Web Page/Screenshots -
                   Bel Air Estates Handkerchief Dress -
  22               White/Yellow
  23
                   FN_003012-13

  24    622.       Fashion Nova Web Page Search
                   Results - Bel Air Estates
  25               FN_021842
  26
        623.       Royal Pain Mesh Dress - White/Combo
  27               (Physical Exhibit)
  28
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   1      Exhibit
           No.             Exhibit Description            Date Identified   Date Admitted
   2
                    FN_026586
   3
        624.        Fashion Nova Web Page/Screenshots -
   4                Royal Pain Mesh Dress - White/Combo
   5                FN_003031-32
   6    625.        Lusting Over You Baroque Dress -
   7                Black (Physical Exhibit)
                    FN_026587
   8
        626.        Fashion Nova Web Page/Screenshots -
   9
                    Lusting Over You Baroque Dress -
  10                Black
                    FN_003028-29
  11

  12    627.        Fashion Nova Web Page Search
                    Results - Lusting Over You
  13                FN_021844
  14
        628.        Dressed To Inspire Mermaid Maxi
  15                Dress - Black/White Combo (Physical
                    Exhibit)
  16
                    FN_026588
  17
        629.        Fashion Nova Web Page - Dressed To
  18                Inspire
  19                FN_021845
  20    630.        Fashion Nova Web Page/Screenshots -
  21
                    Dressed To Inspire Mermaid Maxi
                    Dress - Black/White Combo
  22                FN_003014-15
  23    631.        All Hands On Deck Maxi Dress -
  24                Black/Combo
                    FN_026589-91
  25

  26    632.        Fashion Nova Web Page - All Hands
                    on Deck Maxi Dress
  27                FN_003003
  28
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   1     Exhibit
           No.               Exhibit Description         Date Identified   Date Admitted
   2
        633.       Fashion Nova Web Page Search
   3               Results - All Hands on Deck
                   FN_021846
   4

   5    634.       Photos of All Hands on Deck Maxi
                   Dress - Black/Combo
   6               FN_004844-45
   7
        635.       Always Fortunate Mini Dress -
   8               Black/Gold (Physical Exhibit)
   9               FN_026592

  10    636.       Fashion Nova Web Page - Always
                   Fortunate Mini Dress - Black/Gold
  11
                   FN_003004-5
  12
        637.       Fashion Nova Web Page Search
  13               Results - Always Fortunate
  14               FN_021847

  15    638.       Spend My Own Belted Jumpsuit -
                   MultiColor
  16
                   FN_026593-95
  17
        639.       Fashion Nova Web Page/Screenshots -
  18               Spend My Own Belted Jumpsuit -
  19               MultiColor
                   FN_003033-34
  20

  21
        640.       Fashion Nova Web Page Search
                   Results - Spend My Own
  22               FN_021848
  23    641.       Animal Kingdom Track Jacket -
  24               Black/Yellow (Physical Exhibit)
                   FN_026596
  25

  26    642.       Fashion Nova Web Page/Screenshots -
                   Animal Kingdom Track Jacket -
  27               Black/Yellow
  28
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   1      Exhibit
           No.             Exhibit Description               Date Identified   Date Admitted
   2
                    FN_003008-10
   3
        643.        Fashion Nova Web Page Search
   4                Results - Animal Kingdom Track
   5                Jacket
                    FN_021849
   6

   7    644.        Animal Kingdom Track Pant -
                    Black/Yellow
   8                FN_026597-99
   9
        645.        Fashion Nova Web Page - Animal
  10                Kingdom Track Pant
                    FN_003006-7
  11

  12    646.        Fashion Nova Web Page Search
                    Results - Animal Kingdom Track Pant
  13                FN_021850
  14
        647.        Wild At Heart Slit Dress - White/Black
  15                FN_026600-02
  16    648.        Fashion Nova Web Page - Wild At
  17                Heart Slit Dress - White/Black
                    FN_026603-05
  18

  19
        649.        Italian Rivera Maxi Dress - Purple
                    Multi
  20                FN_026605
  21    650.        Deserve A Metal Dress - Black/Gold
  22                (Physical Exhibit)
                    FN_026606
  23

  24    651.        I Like Nice Things Jumpsuit –
                    Yellow/Combo (Physical Exhibit)
  25                FN_026607
  26
        652.        Prowl Around Jumpsuit –
  27                Black/Yellow (Physical Exhibit)
                    FN_026608
  28
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   1     Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
        653.       Always Glowing Off Shoulder Dress -
   3               Light Blue (Physical Exhibit)
                   FN_026609
   4

   5    654.       Not For Me If It’s Not Designer Mini
                   Dress - Black/White (Physical Exhibit)
   6               FN_026610
   7
        655.       Making Dreams Midi Dress -
   8               Black/Combo (Physical Exhibit)
   9               FN_026611

  10    656.       Wine And Dine Jumpsuit (Physical
                   Exhibit)
  11
                   FN_026612
  12
        657.       Meet My Standards Midi Dress -
  13               Red/Combo (Physical Exhibit)
  14               FN_026613

  15    658.       Afford Nice Things Shirt Dress -
                   Red/Combo (Physical Exhibit)
  16
                   FN_026614
  17
        659.       On My Level Mini Dress - Rust/Multi
  18               (Physical Exhibit)
  19               FN_026615
  20    660.       Handle With Care Mini Dress -
  21
                   Brown/Combo (Physical Exhibit)
                   FN_026616
  22
        661.       Feeling Fortunate Mini Dress -
  23               Pink/Combo (Physical Exhibit)
  24               FN_026617
  25    662.       Let Me Stay Mini Dress – Black/White
  26               (Physical Exhibit)
                   FN_026618
  27
        663.       You’re Amazing To Me Studded
  28
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   1      Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
                    Romper - Orange (Physical Exhibit)
   3                FN_026619
   4    664.        Feeling Wild Maxi Dress -
   5                Burgundy/Multi (Physical Exhibit)
                    FN_026620
   6

   7    665.        The Perfect France Maxi Dress -
                    Yellow (Physical Exhibit)
   8                FN_026621
   9
        666.        Queens Only Cape Mini Dress -
  10                White/Combo (Physical Exhibit)
                    FN_026622
  11

  12    667.        Need You Never Puff Sleeve Dress -
                    Green/Combo (Physical Exhibit)
  13                FN_026623
  14
        668.        Shot Caller Blazer Dress - Black/Gold
  15                (Physical Exhibit)
                    FN_026624
  16

  17    669.        Dinners And Designers Jumpsuit –
                    Multi Color (Physical Exhibit)
  18                FN_026625
  19
        670.        Tropical Memory Tube Midi Dress -
  20                Green/Combo (Physical Exhibit)
  21
                    FN_026626

  22    671.        Island Party Romper – Black/Combo
                    (Physical Exhibit)
  23                FN_026627
  24
        672.        Lace Up Lovely Maxi Dress - Royal
  25                (Physical Exhibit)
  26                FN_026628

  27    673.        Ex Lover Midi Dress - Navy (Physical
                    Exhibit)
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    FN_026629
   3
        674.        Jet To The Tropics Tube Maxi Dress -
   4                Green/Combo (Physical Exhibit)
   5                FN_026630
   6    675.        Vanessa Printed Blouse –
   7                Black/Combo (Physical Exhibit)
                    FN_026631
   8
        676.        I Don’t Speak Broke Surplice Bodysuit
   9
                    – White/Black (Physical Exhibit)
  10                FN_026632
  11    677.        Meet Me In Miami V Neck Top -
  12                Black/Combo
                    FN_026633-35
  13
        678.        Days In The Yacht Tie Front Blouse -
  14
                    Black/Combo (Physical Exhibit)
  15                FN_026636
  16    679.        Calabria Shirt Tunic - Black/Gold
  17                FN_026637-39
  18    680.        Take Your Shot Top – Black/Combo
  19
                    (Physical Exhibit)
                    FN_026640
  20
        681.        Can’t Bring Me Down – Ivory
  21                (Physical Exhibit)
  22                FN_026641
  23    682.        Grind Don’t Stop Top – Off
  24                White/Combo (Physical Exhibit)
                    FN_026642
  25
        683.        Only The Best Looks Top - Pink
  26
                    (Physical Exhibit)
  27                FN_026643
  28
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   1     Exhibit
           No.             Exhibit Description            Date Identified   Date Admitted
   2
        684.       Drape Me In Baroque Bodysuit –
   3               Taupe/Combo (Physical Exhibit)
                   FN_026644
   4

   5    685.       Different Feelings Mesh Bodysuit -
                   White/Combo (Physical Exhibit)
   6               FN_026645
   7
        686.       Royal Ego Halter Top – Ivory/Combo
   8               (Physical Exhibit)
   9               FN_026646

  10    687.       Here to Stay Button Down Shirt –
                   White/Combo (Physical Exhibit)
  11
                   FN_026647
  12
        688.       Rich And Fabulous Top – Blue
  13               (Physical Exhibit)
  14               FN_026648

  15    689.       In Control Blazer – White Combo
                   FN_026649-51
  16

  17    690.       Purrfect Mix Off Shoulder Bodysuit –
                   Black (Physical Exhibit)
  18               FN_026652
  19
        691.       Rich and Fabulous Top – Burgundy
  20               (Physical Exhibit)
  21
                   FN_026653

  22    692.       Small White Lies Print Top –
                   Mint/Combo (Physical Exhibit)
  23               FN_026654
  24
        693.       Small White Lies Print Top –
  25               Red/Combo (Physical Exhibit)
  26               FN_026655

  27    694.       Finer Things In Life Tie Front Top –
                   Black/White (Physical Exhibit)
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    FN_026656
   3
        695.        Bon Voyage Tunic – Black/White
   4                (Physical Exhibit)
   5                FN_026657
   6    696.        Catch The Bill Top – Yellow/Combo
   7                (Physical Exhibit)
                    FN_026658
   8
        697.        Made My Presence Known Shirt -
   9
                    Pink/Combo (Physical Exhibit)
  10                FN_026659
  11    698.        Only The Best For You Top –
  12                White/Combo (Physical Exhibit)
                    FN_026660
  13
        699.        Big Boss Midi Skirt – Black (Physical
  14
                    Exhibit)
  15                FN_026661
  16    700.        Dipped In Baroque High Waist Pants
  17                Pink/Combo (Physical Exhibit)
                    FN_026662
  18

  19
        701.        Seriously Can You Not Set –
                    Brown/Combo (Physical Exhibit)
  20                FN_026663
  21    702.        Own The Place Mesh Flare Leggings –
  22                Yellow/Combo (Physical Exhibit)
                    FN_026664
  23

  24    703.        Royal Sunsuit Set – Black (Physical
                    Exhibit)
  25                FN_026665
  26
        704.        Life of Luxe 2 Piece Sunsuit –
  27                Black/Combo (Physical Exhibit)
                    FN_026666
  28
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   1     Exhibit
           No.               Exhibit Description             Date Identified   Date Admitted
   2
        705.       Royal Vacation 2 Piece PVC Strap
   3               Bikini - Black/combo (Physical
                   Exhibit)
   4
                   FN_026667
   5
        706.       Floating Off Print Bikini - Gold/White
   6               (Physical Exhibit)
   7               FN_026668
   8    707.       Vacation Vibes Chain 2 Piece Sunsuit
   9               Set – Multi Color (Physical Exhibit)
                   FN_026669
  10
        708.       Las Islas Dress - Black/Green (Physical
  11
                   Exhibit)
  12               FN_026670
  13    709.       Mansion Party Jumpsuit - Black
  14               FN_026671-73

  15    710.       Rhine River Jumpsuit - Blue/Gold
                   FN_026674-76
  16

  17    711.       Verona Jumpsuit - Ivory/Gold
                   FN_026677-79
  18

  19
        712.       Glad I Met You Dress- Black
                   FN_026680-82
  20
        713.       Flaunt What Ya Got Jumpsuit – Navy
  21               (Physical Exhibit)
  22               FN_026683
  23    714.       Queen Bee Deep V Neck Dress - Black
  24               FN_026684-86

  25    715.       Ready To Break Free Dress - Black
                   FN_026687-89
  26

  27    716.       Inspired By Me Printed Jumpsuit –
                   Red/Combo (Physical Exhibit)
  28
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    FN_026690
   3
        717.        You Know What To Do Jumpsuit -
   4                Black/White (Physical Exhibit)
   5                FN_026691
   6    718.        Chain Reaction Set- Black
   7                FN_026692-94

   8    719.        Jungle Fever Off Shoulder Maxi Dress
                    – Black/Green
   9
                    FN_026695-97
  10
        720.        Art Gala Jacket – Black
  11                FN_026698-700
  12
        721.        Want To Have It All Collared Shirt -
  13                Black/Combo (Physical Exhibit)
                    FN_026701
  14

  15    722.        Acacia Mix Off Shoulder Bodysuit –
                    Red/Combo (Physical Exhibit)
  16                FN_026702-04
  17
        723.        Mariana Bodysuit - Green
  18                FN_026705-07
  19    724.        Paid Well Button Down Shirt -
  20                White/Combo (Physical Exhibit)
                    FN_026708
  21

  22    725.        The Right Time Blouse - Black/Gold
                    FN_026709-11
  23
        726.        In A Maze Bodysuit – Black
  24
                    FN_026712-14
  25
        727.        Marlaina Mesh Kimono - Black
  26                FN_026715-17
  27
        728.        Marlaina Bodysuit - Black
  28
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    FN_026718-20
   3
        729.        Feel So Close Top – White/Combo
   4                (Physical Exhibit)
   5                FN_026721
   6    730.        On This Grind Top - Black/Combo
   7                (Physical Exhibit)
                    FN_026722
   8
        731.        At the Top Of Your Game Blouse –
   9
                    Black/Combo (Physical Exhibit)
  10                FN_026723
  11    732.        In A Daze Pant Set - Black
  12                FN_026724-26

  13    733.        Classy Chic Biker Short – Black/Gold
                    (Physical Exhibit)
  14
                    FN_026727
  15
        734.        Oh You Fancy Biker Short -
  16                Navy/Combo (Physical Exhibit)
  17                FN_026728
  18    735.        Pompeii 2 Piece Sunsuit - Neon Green
  19
                    (Physical Exhibit)
                    FN_026729
  20
        736.        Sunny Hunny 2 Piece Sunsuit Set -
  21                Tropical (Physical Exhibit)
  22                FN_026730
  23    737.        Tropical Day Dream 2 Piece Sunsuit
  24                Set - Green/Teal
                    FN_026731-4
  25                Ex 530_170-173
  26
        738.        Expensive Taste 2 Piece Sunkini –
  27                Black/Combo (Physical Exhibit)
                    FN_026735
  28
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   1     Exhibit
           No.              Exhibit Description            Date Identified   Date Admitted
   2
        739.       Royalty Sunsuit Set - White (Physical
   3               Exhibit)
                   FN_026736
   4

   5    740.       The Gotti Short Sleeve Polo - Black
                   FN_026737-39
   6

   7    741.       Dustin Short Sleeve Tee - White/Gold
                   (Physical Exhibit)
   8               FN_026740
   9
        742.       Gold Leaf Long Sleeve Woven Top –
  10               White/Yellow (Physical Exhibit)
                   FN_026741
  11

  12    743.       Livin’ Luxe Volley Trunk – Red/Black
                   (Physical Exhibit)
  13               FN_026742
  14
        744.       Aiden Short Sleeve Woven Top –
  15               Red/Combo (Physical Exhibit)
                   FN_026743
  16

  17    745.       Keep Yourself Alive Short –
                   Gold/Combo (Physical Exhibit)
  18               FN_026744
  19
        746.       Feelin’ Luxxx Volley Trunk – Red
  20               (Physical Exhibit)
  21
                   FN_026745

  22    747.       Gilded Leopard Volley Trunk –
                   Blue/Gold (Physical Exhibit)
  23               FN_026746
  24
        748.       Ship Wreck Shorts – Red/Combo
  25               (Physical Exhibit)
  26               FN_026747

  27    749.       Gold Leaf Long Sleeve Woven Top –
                   Black/Yellow (Physical Exhibit)
  28
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   1      Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
                    FN_026748
   3
        750.        Gold Leaf Short Sleeve Woven Top –
   4                Black/Yellow (Physical Exhibit)
   5                FN_026749
   6    751.        Dustin Short Sleeve Woven Top –
   7                White/Combo (Physical Exhibit)
                    FN_026750
   8
        752.        Feelin’ Luxxx Woven Top – Red
   9
                    (Physical Exhibit)
  10                FN_026751
  11    753.        Respect The Game Long Sleeve
  12                Woven Top - Gold/Black (Physical
                    Exhibit)
  13                FN_026752
  14
        754.        Giovanni Pool Side Short Sleeve
  15                Woven Shirt - Red Combo (Physical
                    Exhibit)
  16
                    FN_026753
  17
        755.        Roman Short Sleeve Woven Top -
  18                Black/Gold (Physical Exhibit)
  19                FN_026754
  20    756.        Started Here Short Sleeve Woven Top -
  21
                    Black/Gold (Physical Exhibit)
                    FN_026755
  22
        757.        Tony Short Sleeve Woven Top -
  23                Black/Gold (Physical Exhibit)
  24                FN_026756
  25    758.        Slink Away Belt – Gold (Physical
  26                Exhibit)
                    FM_026757-58
  27
        759.        Keep It Minimal Ring - Gold (Physical
  28
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   1      Exhibit
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   2
                    Exhibit)
   3                FN_026759
   4    760.        Power Trip Ring - Silver
   5                FN_26760-62
   6    761.        Winter in Versailles Jacket - Black
   7                FN_026763

   8    762.        Like Artwork Matching Set –
                    Black/Pink (Physical Exhibit)
   9
                    FN_026765-67
  10
        763.        Party in Havana Tropical Set
  11                FN_026768
  12
        764.        Call Me Royalty Jumpsuit (Physical
  13                Exhibit)
                    FN_026769
  14

  15    765.        2019 Fashion Nova Instagram Page
                    Showing 16.1M Followers FN_001295
  16

  17
        766.        FN “Summer Sensational” homepage
                    FN_001297
  18
        767.        2019 Celebrity Instagrams
  19                FN_001288-92
  20
        768.        2020 Fashion Nova Instagram
  21                Homepage (showing 18.5M followers)
  22                FN_001307

  23    769.        2020 FN Facebook
                    FN_001306
  24

  25    770.        Screenshots of FN main homepage
                    (18M Instagram followers; summer
  26                sale)
  27                FN_004924-26

  28
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   1     Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
        771.       Screenshots of FN main homepages
   3               (Halloween; summer sale)
                   FN_005004-05
   4

   5    772.       Screenshots of FN main homepage
                   with apparel categorie
   6               FN_005034-40
   7
        773.       Exemplar video of FN website
   8               overview
   9               FN_026412

  10    774.       9/1/2020
                   FN Website Screenshots
  11
                   FN_026238-26263
  12
        775.       8/31/2020
  13               FN Website Screenshots
  14               FN_026264-26390

  15    776.       Influencer Guidelines
                   FN_022097
  16

  17    777.       Group Exhibit - Customer Care Tickets
                   FN_006162-6876
  18

  19
        778.       12/1/2016
                   Email from J. Raposo to Fashion Nova
  20               Customer Care Team re: Employment
  21
                   Opportunity
                   FN_006451
  22
        779.       Fashion Nova Vendors (list of vendors)
  23               FN_011605
  24
        780.       Fashion Nova Vendors (list of vendors
  25               for accused items)
  26               FN_021988

  27    781.       Indemnification Letters Sent to
                   Vendors
  28
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                                                     89             JOINT TRIAL EXHIBIT LIST
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   1      Exhibit
           No.             Exhibit Description            Date Identified   Date Admitted
   2
                    FN_022105-25178
   3
        782.        10/31/2019
   4                #PO181146 to New Commercial
   5                Capital Reveuse
                    FN_017529-30
   6

   7    783.        10/31/2019
                    #PO181149 to New Commercial
   8                Capital Reveuse
   9                FN_017544-5

  10    784.        2/13/2020
                    #PO208224 to Prime Business Credit
  11
                    Inc. The Timing Inc.
  12                FN_017881-2
  13    785.        2/5/2020
  14                #PO206145 to Prime Business Credit
                    Inc. The Timing Inc.
  15                FN_018266-9
  16
        786.        5/21/2020
  17                #PO233968 to Prime Business Credit
                    Inc Salt & Pepper Clothing Inc. DBA
  18
                    Flying Tomato
  19                FN_018446-7
  20    787.        Group Exhibit - Various Purchase
  21                Orders
                    FN_018488-19216
  22

  23
        788.        Annabelle Lee (FN Vendor) Copyright
                    Certificate
  24                FN_022064
  25    789.        Annabelle Lee (FN Vendor) Copyright
  26                Certificate
                    FN_022065
  27

  28
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   1     Exhibit
           No.               Exhibit Description         Date Identified   Date Admitted
   2
        790.       Annabelle Lee (FN Vendor) Copyright
   3               Certificate
                   FN_022066
   4

   5    791.       Annabelle Lee (FN Vendor) Copyright
                   Certificate
   6               FN_022068
   7
        792.       GIBIU (FN Vendor) Copyright
   8               Certificate
   9               FN_022069

  10    793.       GIBIU (FN Vendor) Copyright
                   Certificate
  11
                   FN_022070
  12
        794.       GIBIU (FN Vendor) Copyright
  13               Certificate
  14               FN_022071

  15    795.       GIBIU (FN Vendor) Copyright Mail
                   Certificate
  16
                   FN_022072
  17
        796.       GIBIU (FN Vendor) Copyright Mail
  18               Certificate
  19               FN_022075
  20    797.       CNS America (FN Vendor) Print
  21
                   Design Copyright Registered
                   FN_022078
  22
        798.       GIBIU (FN Vendor) Copyright Office
  23               Receipt
  24               FN_022080
  25    799.       Sales Queen Mania (FN Vendor)
  26               Pattern Packing Slip
                   FN_022081
  27
        800.       Sales Queen Mania (FN Vendor)
  28
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   1      Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
                    Copyright Certificate of Registration
   3                FN_022082
   4    801.        Sang Clothing (FN Vendor) Copyright
   5                Application Mail Certificate
                    FN_022085
   6

   7    802.        Sang Clothing (FN Vendor) pattern
                    photo (shapes (1))
   8                FN_022088
   9
        803.        Sang Clothing (FN Vendor) pattern
  10                photo (shapes (2))
                    FN_022089
  11

  12    804.        Sang Clothing (FN Vendor) pattern
                    photo (shapes (3))
  13                FN_022090
  14
        805.        Sang Clothing (FN Vendor) pattern
  15                photo (shapes (4))
                    FN_022091
  16

  17    806.        Sang Clothing (FN Vendor) pattern
                    photo (shapes (5))
  18                FN_022092
  19
        807.        Sang Clothing (FN Vendor) pattern
  20                photo (shapes (6))
  21
                    FN_022093

  22    808.        Win Win Apparel (FN Vendor) pattern
                    photo
  23                FN_022094
  24
        809.        Win Win Apparel (FN Vendor)
  25                certificate of registration
  26                FN_022095

  27    810.        Win Win Apparel (FN Vendor)
                    certificate of registration
  28
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   1      Exhibit
           No.             Exhibit Description               Date Identified   Date Admitted
   2
                    FN_022096
   3
        811.        Queen Mania PO18-M126-CHAIN
   4                garment photo
   5                FN_022098
   6    812.        Queen Mania PO18-M126-CHAIN
   7                pattern photo
                    FN_022099
   8
        813.        Queen Mania PO18-M126-CHAIN
   9
                    Copyright Registration p.1
  10                FN_022100
  11    814.        Queen Mania PO18-M126-CHAIN
  12                Copyright Registration p.2
                    FN_022101
  13
        815.        Queen Mania JE-15279-02 garment
  14
                    photo
  15                FN_022102
  16    816.        Queen Mania JE-15279-02 pattern
  17                photo
                    FN_022103
  18

  19
        817.        Queen Mania JE-15279-02 Copyright
                    Registration
  20                FN_022104
  21    818.        Vendor Copyright to AJU Plus Textile
  22                Co. Ltd.
                    FN_004868-71
  23

  24    819.        Additional vendor copyrights (Sky Co.,
                    Ltd.)
  25                FN_004867-76
  26
        820.        Image of Pattern - Copyright to Sky
  27                Co., Ltd.
                    FN_005130
  28
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   1     Exhibit
           No.             Exhibit Description              Date Identified   Date Admitted
   2
        821.       Screenshots from Versace.com
   3               FN_026391-26411
   4    822.       7/8/2020
   5               Henke Dep Ex 2 - Capri Holdings –
                   Form 10-K
   6

   7    823.       5/29/2019
                   Capri Holdings Limited - Form 10-K
   8               FN_026976
   9
        824.       5/30/2018
  10               Capri Holdings Limited - Form 10-K
                   FN_026424-548
  11

  12    825.       Group Exhibit - third-party uses of
                   Versace alleged IP
  13               FN_021778-800
  14
        826.       7/30/2020
  15               Velvet tote Etro Black in Velvet
                   FN_020357-59
  16

  17    827.       7/30/2020
                   Polo shirt Dolce & Gabbana Black size
  18               L International in Cotton
  19               FN_020408-11
  20    828.       7/30/2020
  21
                   Vest Supreme Blue size M in Synthetic
                   FN_020428-33
  22
        829.       7/30/2020
  23               Classic jacket Moncler Navy size 3 0 -
  24               6 in Synthetic
                   FN_020851-53
  25

  26    830.       Group Exhibit - Examples of third-
                   party use of Medusa Head
  27               FN_020250-83
  28
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   1     Exhibit
           No.               Exhibit Description            Date Identified   Date Admitted
   2
        831.       Group Exhibit - examples of third-
   3               party use of Baroque elements
                   FN_020284-304
   4

   5    832.       Group Exhibit - examples of third-
                   party designs featuring realistic
   6               bamboo and fan palm leaves,
   7               arrangements of foliage, and color
                   selections
   8               FN_020438-1704
   9
        833.       7/10/2020
  10               Opening Expert Report of Song Tae
  11               Chong, Ph.D.*

  12    834.       Chong Appendix A - Curriculum
                   Vitae*
  13

  14    835.       Chong Appendix B - Documents
                   Considered 2.1A-Z; 2.2A-Z; 3.1A-Z;
  15               3.2A-Z; 4.1A-Z; 4.2A-Z; 5.1A-Z;
  16               5.2A-Z; 5.3A-Z;
                   FN_005798-6147
  17
        836.       Chong Appendix C - Examples of
  18
                   Historical and Contemporary Objects
  19               that Utilize Baroque Details; Examples
                   of High-End and Mass-Market
  20
                   Retailers Using Greek Meander;
  21               Examples of Greco-Roman aesthetic
                   FN_005798-6147
  22

  23    837.       Production Set of Chong Opening
                   Report Appendix C
  24               FN_005798-6147
  25
        838.       Chong - Image of 17th Century
  26               German use of common element in
  27
                   Baroque design - spiked circle
                   FN_026549
  28
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   1     Exhibit
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   2
        839.       Chong - Image of Midcentury Vintage
   3               use of leopard
                   FN_026784
   4

   5    840.       8/12/2020 REBUTTAL EXPERT
                   REPORT OF SONG TAE CHONG,
   6               Ph.D.
   7
        841.       Do Not Disturb - Gianni Versace
   8               VERS0003353-3703
   9
        842.        Chong -
  10               https://www.1stdibs.com/blogs/the-
                   study/elsie-de-wolfe/
  11
                   FN_025254
  12               FN_026553-61
  13    843.       Chong -
  14               https://www.perchandparrow.com/le-
                   journal/madeleine-castaing/
  15               FN_026953
  16
        844.       Chong -
  17               https//directoriodeco.com/madeleine-
                   castaing-leopard-as-a-neutral/
  18
                   FN_025236-48
  19
        845.       Chong -
  20               https://www.townandcountrymag.com/
  21               style/home-décor/g27346094/best-
                   interior-design-past-century-
  22               phaidon/?slide=7
  23               FN_025249
                   FN_026770-83
  24

  25
        846.       Chong - Image of leopard in natural
                   appearance and pose
  26               FN_026901-09
  27
        847.       Chong - Example of use of Greek Key
  28               by Wal-Mart
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   1      Exhibit
           No.             Exhibit Description                 Date Identified   Date Admitted
   2
                    FN_006080
   3
        848.        Chong - Rebuttal Appendix A -
   4                Materials Considered*
   5
        849.        Chong - Campbell/Seebohm, 1992.
   6                Elsie De Wolfe: A Decorative Life.
   7                Published by Panache
                    FN_025207-13
   8
        850.        Chong - Duquette, Tony. Rosekrans
   9
                    Palazzo Brandolini “Artist Archive”
  10                https://www.tonyduquette.com/palazzo
                    -brandolini
  11
                    FN_025220-30
  12                FN_025250-53
  13    851.        Chong - Gonzalez, Gloria. Directorio
  14                Deco August 2016 “Madeleine
                    Castaing: Leopard As a Neutral.
  15                http://directoriodeco.com/madeleine-
  16                castaing-leopard-as-a-neutral/
                    FN_025236-48
  17
        852.        Chong - Graham, Mhairi. Another
  18
                    Magazine October 16, 2014 “Elise De
  19                Wolfe: America’s First Interior
                    Decorator”
  20
                    https://www.anothermag.com/fashion-
  21                beauty/4015/elsie-de-wolfe-americas-
                    first-interior-decorator
  22
                    FN_025214-19
  23
        853.        Chong - Owens, Mitchell. Architectural
  24                Digest March 6, 2018 “Elsie De
  25                Wolfe’s Iconic Bath at Villa Trianon”
                    https://www.architecturaldigest.com/st
  26                ory/elsie-de-wolfe-iconic-bath-at-villa-
  27                trianon
                    FN_025231-32
  28
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   1     Exhibit
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   2
        854.       Song Chong Rebuttal Exhibit 1 - six 2-
   3               D Artworks asserted by Versace
   4    855.       Song Chong Rebuttal Exhibit 2 -
   5               Goldaper Sanctuary Report
   6    856.       Song Chong Rebuttal Exhibit 3 -
   7               Goldaper’s single article re Baroque art

   8    857.       Song Chong Rebuttal Exhibit 4 - public
                   domain examples of Borocco combo
   9
                   and placement of crown and acanthus
  10               leaves
  11    858.       Song Chong Rebuttal Exhibit 5 -
  12               design TMs using Borocco combo and
                   placement of crown and acanthus
  13               leaves
  14
        859.       Song Chong Rebuttal Exhibit 6 -
  15               examples of Hermes silk scarves that
  16
                   are similar to Barocco arrangement

  17    860.       Song Chong Rebuttal Exhibit 7 -
                   examples of works by third-party
  18               designers depicting leopard
  19
        861.       Song Chong Rebuttal Exhibit 8 - public
  20               domain examples of contemporary
  21               works using combo of gold with bold
                   reds and black
  22
        862.       Song Chong Rebuttal Exhibit 10 -
  23
                   examples of Jim Dine’s works
  24
        863.       Song Chong Rebuttal Exhibit 11 -
  25               examples showing natural appearance
  26               of bamboo and fan palm leaves
  27    864.       Song Chong Rebuttal Exhibit 12 -
                   examples of third-party designs
  28
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   1      Exhibit
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   2
                    featuring realistic bamboo and fan
   3                palm leaves, arrangements of foliage,
   4
                    and color selections

   5    865.        Song Chong Rebuttal Exhibit 13 -
                    examples of Greek Key in architectural
   6                and interior design motifs worldwide
   7
        866.        Song Chong Rebuttal Exhibit 14 -
   8                examples of Greek Key in films
   9                depicting ancient Greece or Rome

  10    867.        Song Chong Rebuttal Exhibit 15 -
                    article re history behind iconic NYC
  11
                    Anthora coffee cups and examples of
  12                use
  13    868.        Song Chong Rebuttal Exhibit 16 -
  14                examples of Greek Key in consumer
                    product designs
  15

  16
        869.        Song Chong Rebuttal Exhibit 17 -
                    examples of Greek Key as staple
  17                element of fashion and clothing designs
  18
                    for centuries

  19    870.        Song Chong Rebuttal Exhibit 18 -
                    examples of Greek Key as staple
  20
                    element of contemporary fashion and
  21                clothing designs
  22    871.        Chong - Rebuttal Appendix B -
  23                Extrinsic Similarity Analysis
                    comparing Versace to Fashion Nova*
  24
        872.        Production Set of Chong Rebuttal
  25
                    Report Exs. 1-18
  26                FN_019771-20239; FN_020250-1758
  27    873.        FN Product Tags
  28
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   1      Exhibit
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   2
                    FN_026237
   3
        874.        8/12/2020 Expert Report of Peter Kent
   4

   5    875.        Ex. A CV – Peter Kent

   6    876.        Ex. B Materials Considered by Peter
                    Kent
   7

   8    877.        Kent - Google search results at
                    https://j.mp/31vfgdV
   9                FN_025256-57
  10
        878.        Kent - Google search results at
  11                https://j.mp/3kscS0u
                    FN_025258
  12

  13    879.        Kent - Google search results at
                    https://j.mp/3a4aat0
  14                FN_025259-60
  15
        880.        Kent - Google search results at
  16                https://j.mp/3kscS0u
  17
                    FN_025261

  18    881.        Kent -
                    https://support.google.com/webmasters
  19                /answer/66355?hl=en
  20                FN_025262
  21    882.        Kent - Google’s explanation of
  22                cloaking at
                    https://www.youtube.com/watch?time_
  23                continue=527&v=QHtnfOgp65Q&feat
  24                ure=emb_logo
                    FN_025821
  25
        883.        Kent -
  26
                    https://support.google.com/webmasters
  27                /answer/66353
                    FN_025263
  28
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   1     Exhibit
           No.               Exhibit Description            Date Identified   Date Admitted
   2
        884.       Kent - https://www.amazon.com/s-
   3               ring-carabiner/s?k=s+ring+carabiner
                   FN_025264-69
   4

   5    885.       Kent - https://j.mp/31zduZf
                   FN_025270
   6

   7    886.       Kent -
                   https://www.fashionnova.com/pages/se
   8               archresults/camo%20shirts
   9               FN_025271-85

  10    887.       Kent - Google search results at
                   https://j.mp/3isBnZD
  11
                   FN_025286-87
  12
        888.       Kent -
  13               https://www.alexa.com/topsites/categor
  14               y/Top/Shopping
                   FN_025288-99
  15
        889.       Kent - https://j.mp/3ij2Qwt
  16
                   FN_025300-01
  17
        890.       Kent - Saks Fifth Avenue:
  18               SaksFifthAvenue.com -
  19               https://j.mp/3krLZty
                   FN_025302-03
  20

  21
        891.       Kent - Macy’s: Macys.com -
                   https://j.mp/33FnMd3
  22               FN_025304-05
  23    892.       Kent - Neiman Marcus:
  24               NeimanMarcus.com -
                   https://j.mp/2XHYS97
  25               FN_025306
  26
        893.       Kent - Nordstrom: Nordstrom.com -
  27               https://j.mp/2XKpgiB
  28
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   1      Exhibit
           No.             Exhibit Description                 Date Identified   Date Admitted
   2
                    FN_025307-08
   3
        894.        Kent - https://www.versace.com/us/en-
   4                us/search/?q=Versace%20Eyewear
   5                FN_025309-25
   6    895.        Kent - See Google search results at
   7                https://j.mp/31xabSy
                    FN_025326
   8
        896.        Kent - See Google search results at
   9
                    https://j.mp/2XFYrft
  10                FN_025327-28
  11    897.        Kent -
  12                http://fr.versace.com/on/demandware.st
                    ore/Sites-FR-Site/fr_FR/Search-
  13                Show?q=montres
  14                FN_025329-45

  15    898.        Kent - https://www.versace.com/fr/fr-
                    fr/recherche/?q=montres
  16
                    FN_025346-49
  17
        899.        Kent -
  18                https://majestic.com/reports/siteexplore
  19                r?q=fashionnova.com&oq=fashionnova
                    .com&IndexDataSource=F
  20                FN_025401-04
  21
        900.        Kent - Google Search Console See
  22                https://search.google.com/search-
  23
                    console/about
                    FN_025350
  24
        901.        Kent -
  25                https://www.fashionnova.com/pages/se
  26                arch-results/versace%20print
                    FN_025351-53
  27

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   1     Exhibit
           No.              Exhibit Description              Date Identified   Date Admitted
   2
        902.       Kent -
   3               https://www.onely.com/blog/giphys-
                   visibility-drops-conspiracy-or-
   4
                   consequence/
   5               FN_025354-61
   6    903.       Kent -
   7               https://www.gsqi.com/marketing-
                   blog/march-7-2018-google-algorithm-
   8               update-brackets/
   9               FN_025362-70
  10    904.       Kent - https://www.versace.com/us/en-
  11               us/search/?q=qwertyuiop
                   FN_025371-72
  12
        905.       Kent -
  13
                   https://www.practicalecommerce.com/
  14               Black-Hat-SEO
                   FN_025373
  15

  16    906.       Kent -
                   https://www.zoho.com/crm/alternatives
  17               /
  18               FN_025374-78

  19    907.       Kent -
                   https://www.fashionnova.com/products
  20
                   /wild-at-heart-slit-dress-white-black
  21               FN_025382-83
  22    908.       Kent -
  23               https://www.fashionnova.com/products
                   /italian-rivera-maxi-dress-purple-multi
  24               FN_025384-85
  25
        909.       Kent - Google search results at
  26               https://j.mp/3fJu6mn
  27
                   FN_025386

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   1     Exhibit
           No.                Exhibit Description           Date Identified   Date Admitted
   2
        910.       Kent - Google search results at
   3               https://j.mp/2DO6kZb.
                   FN_025387-88
   4

   5    911.       Kent -
                   https://webmasters.googleblog.com/20
   6               09/09/google-does-not-use-keywords-
   7               meta-tag.html
                   FN_025389-90
   8

   9    912.       Kent -
                   https://community.shopify.com/c/Shopi
  10               fy-Discussion/Meta-Description-
  11               Problem/td-p/417486
                   FN_025391-92
  12
        913.       Kent -
  13
                   https://searchengineland.com/guide/seo
  14               /html-code-searchengine-ranking
                   FN_025393-95
  15

  16    914.       Kent -
                   https://www.instagram.com/p/By0l-
  17               IphFBV/
  18               FN_025396

  19    915.       Kent - Google search results at
                   https://j.mp/31Q0mzn
  20
                   FN_025397-98
  21
        916.       Kent - Google search results at
  22               https://j.mp/2XRo9xu
  23               FN_025399-400
  24    917.       Silver Smith Report Fig. 16
  25
                   FN_026422

  26    918.       8/12/2020 Rebuttal Expert Report of
                   Douglas Olsen Ph.D
  27

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   1     Exhibit
           No.               Exhibit Description            Date Identified   Date Admitted
   2
        919.       Olsen - 2018 data from the US Census
   3               Bureau.
                   https://www.census.gov/data/tables/tim
   4
                   eseries/demo/income-poverty/cps-
   5               hinc/hinc-06.html
                   FN_025447-64
   6

   7    920.       Appendix E - CV of Olsen
   8    921.       Olsen - Appendix B: Actual Brand
   9               Name Associated By Recognized”
                   Dress and Brand Name to Correct
  10               Figure 2 of “Fame” Study in Wind
  11               Report

  12    922.       Olsen - Wind Appendix G_2
  13    923.       Olsen - Q4 of the survey in Appendix
  14               F_1 of the Wind report

  15    924.       Olsen - Confusion Study
  16    925.       Olsen -
  17               https://www.brandwatch.com/blog/twit
                   ter-stats-and-statistics/
  18               FN_025624-37
  19
        926.       Olsen -
  20               https://www.facebook.com/business/m
  21
                   arketing/instagram#
                   FN_025638-45
  22
        927.       Olsen -
  23
                   https://www.omnicoreagency.com/twitt
  24               er-statistics/
                   FN_025646-50
  25

  26    928.       Olsen -
                   https://www.omnicoreagency.com/insta
  27               gram-statistics/
  28
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   1      Exhibit
           No.             Exhibit Description             Date Identified   Date Admitted
   2
                    FN_025651-55
   3
        929.        Women Pre-Fall 2019 prints_final
   4                VERS0000782
   5
        930.        Fashion Nova_Refinery29.com
   6                FN_001308
   7
        931.        Versace IP Case – Sales by Style
   8                FN_021982
   9    932.        Versace IP Case – Sales by Style
  10                FN_021991

  11    933.        4/17/2020
                    Daily Sales Report
  12
                    FN_018130
  13
        934.        7/10/2020 Expert Report of Brian
  14                Buss*
  15
        935.        Buss - Doc # 2A Versace IP Case -
  16                Sales by Style_v3
  17
                    FN_021982

  18    936.        Buss - Doc # 2b Nevium Mail - FW
                    Data Needed for Versace
  19                FN_021983
  20
        937.        Buss - Doc # 3a - 3S Fashion Nova
  21                Website Search
  22                FN_021846- FN_021834

  23    938.        Buss - Doc # 5a - 5w Google.com
                    Alternative Items
  24
                    FN_022006-FN_022016
  25
        939.        Buss - Doc # 7a Royalty Range Search
  26                Results (Search 1)
  27                FN_021989*

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   1     Exhibit
           No.              Exhibit Description             Date Identified   Date Admitted
   2
        940.       Buss - Doc # 7b Royalty Range Search
   3               Results (Search 2)
                   FN_021990*
   4

   5    941.       Buss - Doc # 7c Royalty Rate
                   Benchmarking Guide 2017
   6               FN_021853*
   7
        942.       8/12/2020 Supplemental and Rebuttal
   8               Report of Brian Buss*
   9
        943.       Buss - Ex B 1 Qualifications*
  10
        944.       Buss - https://www.versace.com/us/en-
  11               us/about-us/company-profile.html [do
  12               we have a screen shot of this that was
                   produced?]
  13               FN_026785-86
  14
        945.       Buss - Schedule 1a, 1b, 1c: Fashion
  15               Nova’s Unjust Enrichment for the
                   Original 19 Items and Additional 117
  16
                   Items*
  17
        946.       Buss - Schedule 2a and 2b: Fashion
  18               Nova’s Original 19 and Additional 117
  19               Items – Unit Volume and Gross Sales
                   by Year*
  20

  21
        947.       Buss - Schedule 3: Apportionment
                   Considerations*
  22
        948.       Buss - Schedule 5: Fashionnova.com
  23
                   Website Search Results*
  24
        949.       Buss - Schedule 4: Fashionnova.com
  25               Website Analytics*
  26
        950.       Buss - Schedule 6a, 6b: Alternatives
  27               Similar to the Original 19 Items and
  28
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   1      Exhibit
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   2
                    Additional 117 Items*
   3
        951.        Buss - Schedule 7: Royalty Rate
   4                Research*
   5
        952.        Buss - Doc 8a Versace IP Case – Sales
   6                by Style Add’l Styles
   7                FN_021991

   8    953.        Buss - Screenshots of Alternative Items
                    Identified via Google
   9
                    FN_022029-52*
  10
        954.        Buss - Doc 11a-11h Google Analytics
  11                FN_022055-FN_022063*
  12
        955.        Buss - Doc 12a: Google Trends
  13                Historical Information
                    FN_021992*
  14

  15    956.        Buss - Doc 12b: SEMrush – Versace
                    Domain Overview 25June20
  16                FN_021993*
  17
        957.        Fashion Nova Total Sales and
  18                Infringing Sales Data from 11/11/2016-
  19
                    5/31/2020 Reflecting Online versus
                    Retail and Sales by Country
  20                FN_022054
  21    958.        Fashion Nova 2016-YTD Jul 2020
  22                Total Sales Breakdown Reflecting
                    Online versus Retail and Sales by
  23                Country
  24                FN_022053
  25    959.        Alexis Bennett, Move Over Gucci and
  26                Louis Vuitton. This is the Unexpected
                    Brand Everyone Was Googling in
  27                2018, INSTYLE (Updated 12/2018)
  28
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   1      Exhibit
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   2
                    FN_001293
   3
        960.        Image at para. 60 of Kent Report –
   4                Versace eyewear URL
   5                FN_026935
   6    961.        Image at para. 61 of Kent Report – text
   7                showing “search for: “Versace
                    Eyewear””
   8                FN_026418
   9
        962.        Image at para. 62 of Kent Report –
  10                indexed Versace webpage
                    FN_026787
  11

  12    963.        Image at para. 69 of Kent Report –
                    snapshot 1 from Google Analytics Web
  13                analytics program showing bots action
  14                FN_026963

  15    964.        Image at para. 69 of Kent Report –
                    snapshot 2 from Google Analytics web
  16
                    analytics program showing bots action
  17    965.        Image at para. 70 of Kent Report -
                    httpsmajestic.comreportssiteexplorer
  18
                    FN_026550
  19
        966.        Image at para. 71 of Kent Report - The
  20                manual penalty notice in GSC.jpg,
  21                FN_026962
  22    967.        Image at para. 75 of Kent Report -
  23
                    Snapshot of Reconsideration Request
                    to Google
  24                FN_026975
  25
        968.        Image at para. 76 of Kent Report -
  26                Snapshot of email to Google
                    FN_026852
  27

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   1     Exhibit
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   2
        969.       Image at para. 77 of Kent Report –
   3               Snapshot showing Google penalty
                   revoked
   4
                   FN_026551
   5
        970.       Image at para. 87 of Kent Report –
   6               Snapshot of Amazon search for
   7               “qwertyuiop”
                   FN_026853
   8

   9    971.       Image at para. 88 of Kent Report –
                   Snapshot of Walmart search for
  10               “qwertyuiop”
  11               FN_026952

  12    972.       Image at para. 91 of Kent Report -
                   Snapshot of internal FN email re
  13
                   accidental indexing of “no results”
  14               page
                   FN_026552
  15

  16    973.       Image at para. 97 of Kent Report –
                   Example of non-infringing use of
  17               competitor’s trademark
  18               FN_026423

  19    974.       Image at para. 126 of Kent Report -
                   Snapshot of Google Keyword Planner
  20
                   search results for smith’s keywords
  21               FN_026884
  22    975.       Table 2. Differences Between Census
  23               and Wind Study Participants on
                   Income – Olsen report
  24

  25
        976.       Table 3. Differences Between Census
                   and Wind Study Participants on Age –
  26               Olsen report
  27
        977.       Figure 2 Olsen Report - Versace is
  28               recognized as the brand making the
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   1      Exhibit
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   2
                    Jungle Trade Dress by more
   3                respondents than any of the control
   4
                    brands – Olsen report

   5    978.        Table 4. Revised Figure 2 from Wind
                    Report with Correct Numbers – Olsen
   6                report
   7
        979.        Table 6. Extent to Which Each Social
   8                Media Post Demonstrated Post-
   9                Purchase Confusion – Olsen report

  10    980.        Group Exhibit of Accused Products
                    FN_026562-769
  11

  12    981.        Olsen - Figure 26 (p. 70 of the Wind
                    Report)
  13

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  17
                                         ATTESTATION CLAUSE
  18

  19       Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document attests that all of the

  20         signatories listed, and on whose behalf the filing is submitted, concur in the filing’s

  21                                content and have authorized the filing.

  22

  23               DATED: October 5, 2020

  24
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  27

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